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                                                                                                    Clerk
                                   Vanderburgh Circuit Court                  Vanderburgh County, Indiana




 STATE OF INDIANA      )
                                                                    82C01-2304-CT-001700
                       ) SS:
 COUNTY OF VANDERBURGH )

                        IN THE VANDERBURGH CIRCUIT COURT

 ASHLEE E. PADGETT, Individually, and                ) COMPLAINT FOR DAMAGES
 as the Mother, Next Friend, and Natural             ) (DEMAND FOR TRIAL BY JURY)
 Guardian of B.L.H., a Minor, B.L.H., a              )
 Minor, by His Next Friend, ASHLEE E.                )
 PADGETT, CASEY A. BOYER and KRISTY                  )
 A. MARTIN, Individually, and as the                 )
 Parents, Next Friends, and Natural                  )
 Guardians of S.A.B., a Minor, S.A.B., a             )
 Minor, by His Next Friends, CASEY A.                )
 BOYER and KRISTY A. MARTIN, SEAN R.                 )
 GIOLITTO and CHRISTOPHER S.                         )
 PENTECOST, Individually, and as the                 )
 Parents, Next Friends, and Natural                  )
 Guardians of N.C.G., a Minor, N.C.G., a             )
 Minor, by His Next Friends, SEAN R.                 )
 GIOLITTO and CHRISTOPHER S.                         )
 PENTECOST, HALEY KANIZAR,                           )
 Individually, and as the Mother, Next               )
 Friend, and Natural Guardian of D.M.F., a           )
 Minor, and D.M.F., a Minor, by His Next             )
 Friend, HALEY KANIZAR,                              )
                                                     )
                     Plaintiffs,                     )
                                                     )
 v.                                                  )
                                                     )
 JACOB CARL BUTLER, EVANSVILLE-                      )
 VANDERBURGH SCHOOL                                  )
 CORPORATION, BOARD OF SCHOOL                        )
 TRUSTEES OF THE EVANSVILLE-                         )
 VANDERBURGH SCHOOL                                  )
 CORPORATION, UNIVERSITY OF                          )
 EVANSVILLE, UNIVERSITY OF                           )
 EVANSVILLE BOARD OF TRUSTEES,                       )
 BRETT L. HAWKINS, and DAY-DRIAN M.                  )
 FRANKLIN,                                           )
                                                     )
                     Defendants.                     )   JURY TRIAL DEMANDED




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                           COMPLAINT FOR DAMAGES
                         (DEMAND FOR TRIAL BY JURY)

       The Plaintiffs, Ashlee E. Padgett, individually, and as the mother, next

 friend, and natural guardian of B.L.H., a minor, B.L.H., a minor, by his next friend,

 Ashlee E. Padgett, Casey A. Boyer and Kristy A. Martin, individually, and as the

 parents, next friends, and natural guardians of S.A.B., a minor, S.A.B., a minor, by

 his next friends, Casey A. Boyer and Kristy A. Martin, Sean R. Giolitto and

 Christopher S. Pentecost, individually, and as the parents, next friends, and natural

 guardians of N.C.G., a minor, N.C.G., a minor, by his next friends, Sean R. Giolitto

 and Christopher S. Pentecost, Haley Kanizar, individually, and as the mother, next

 friend, and natural guardian of D.M.F., a minor, and D.M.F., a minor, by his next

 friend, Haley Kanizar (“Plaintiffs”), by counsel, Siesky Law Firm, PC, for their

 Complaint for Damages against the Defendants, Jacob Carl Butler, Evansville-

 Vanderburgh School Corporation, Board of School Trustees of the Evansville-

 Vanderburgh School Corporation, University of Evansville, University of Evansville

 Board of Trustees, Brett L. Hawkins, and Day-Drian M. Franklin, allege and state

 as follows:

                     PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff Ashlee E. Padgett (“Ashlee Padgett”) is, and was at all times

 relevant herein, a citizen of the State of Indiana and a resident of the city of

 Evansville, in Vanderburgh County, in the State of Indiana.

       2.      Ashlee Padgett is, and was at all times relevant herein, the mother,

 next friend, and natural guardian of Plaintiff B.L.H., a minor (“B.L.H.”).



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        3.      Plaintiffs Casey A. Boyer (“Casey Boyer”) and Kristy A. Martin

  (“Kristy Martin”) are, and were at all times relevant herein, citizens of the State of

  Indiana and residents of the city of Evansville, in Vanderburgh County, in the State

  of Indiana.

        4.      Casey Boyer and Kristy Martin are the parents, next friends, and

  natural guardians of Plaintiff S.A.B., a minor (“S.A.B.”).

        5.      Plaintiffs Sean R. Giolitto (“Sean Giolitto”) and Christopher S.

  Pentecost (“Chris Pentecost”) are, and were at all times relevant herein, citizens of

  the State of Indiana and residents of the city of Evansville, in Vanderburgh County,

  in the State of Indiana.

        6.      Sean Giolitto and Chris Pentecost are, and were at all times relevant

  herein, the parents, next friends, and natural guardians of Plaintiff N.C.G., a minor

  (“N.C.G.”).

        7.      Plaintiff Haley Kanizar (“Haley Kanizar”) is, and was at all times

  relevant herein, a citizen of the State of Indiana and a resident of the city of

  Evansville, in Vanderburgh County, in the State of Indiana.

        8.      Haley Kanizar is, and was at all times relevant herein, the mother,

  next friend, and natural guardian of Plaintiff D.M.F., a minor (“D.M.F.”).

        9.      At the time of the events alleged herein, all of the minors were

  between five (5) and eight (8) years of age.

        10.     On information and belief, at the time of the events alleged herein,

  Defendant Jacob Carl Butler (“Defendant Butler” or “Butler”) was a citizen of the




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  State of Indiana and a resident of the city of Evansville, in Vanderburgh County, in

  the State of Indiana. On further information and belief, Defendant Butler is now a

  citizen of the State of Illinois and a resident of the city of Arcola, in Douglas County,

  in the State of Illinois.

         11.    At the time of the events alleged herein, Defendant Butler was

  approximately twenty (20) years of age.

         12.    Defendant Evansville-Vanderburgh School Corporation (“School

  Corporation”) is, and was at all times relevant herein, a public school corporation

  organized and existing under the laws of the State of Indiana, having its principal

  place of business located at 951 Walnut Street, Evansville, Indiana 47713, in

  Vanderburgh County, in the State of Indiana.

         13.    Defendant Board of School Trustees of the Evansville-Vanderburgh

  School Corporation (“School Board”) is, and was at all times relevant herein, the

  governing body of the School Corporation, authorized and empowered by Indiana

  law to sue and be sued in the name of the School Corporation. The School

  Corporation and the School Board are referred to herein, collectively, as “Defendant

  EVSC” or “EVSC.”

         14.    Defendant University of Evansville (“University”) is, and was at all

  times relevant herein, a corporation organized and existing under the laws of the

  State of Indiana and a private, liberal arts and sciences-based university having its

  principal place of business located at 1800 Lincoln Avenue, Evansville, Indiana

  47722, in Vanderburgh County, in the State of Indiana.




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        15.    Defendant University of Evansville Board of Trustees (“University

  Trustees”) is, and was at all times relevant herein, the governing board of the

  University. The University and the University Trustees are referred to herein,

  collectively, as “Defendant UE” or “UE.”

        16.    Defendant Brett L. Hawkins (“Brett Hawkins”) is, and was at all times

  relevant herein, a citizen of the State of Indiana and a resident of the city of

  Evansville, in Vanderburgh County, in the State of Indiana.

        17.    Brett Hawkins is, and was at all times relevant herein, the biological

  father of B.L.H., a minor, and is named as a codefendant herein to answer as to his

  interests, if any, in connection with this proceeding.

        18.    Day-Drian M. Franklin (“Day-Drian Franklin”) is, and was at all times

  relevant herein, a citizen of the State of Indiana and a resident of the city of

  Evansville, in Vanderburgh County, in the State of Indiana.

        19.    Day-Drian Franklin is, and was at all times relevant herein, the

  biological father of D.M.F., a minor, and is named as a codefendant herein to

  answer as to his interests, if any, in connection with this proceeding.

        20.    This Court has jurisdiction over this proceeding, as all or a substantial

  portion of the acts, events, and/or occurrences giving rise to this action took place in

  Vanderburgh County, Indiana.

        21.    Vanderburgh County is a county of preferred venue, pursuant to Ind.

  Trial Rule 75(A), as the county in which the greater percentage of individual

  defendants included in the Complaint resides, the principal offices of one or more




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  defendant organizations is/are located, and/or one or more individual plaintiffs

  reside and the principal office of a governmental organization included as a

  defendant in the Complaint is located.


                             GENERAL ALLEGATIONS

        22.    At the time of the events alleged herein, Defendant Butler was a

  student at UE, pursuing a course of study intended to prepare him for a career in

  education.

        23.    Defendants UE and EVSC are, and were at all times relevant herein,

  parties to a certain written Clinical Education Agreement for Student Teaching

  (“UE/EVSC Agreement”), commencing on August 1, 2021, by which they agreed to

  provide UE’s students with training and experience in student teaching at the

  EVSC’s schools. A true and accurate copy of said Agreement is attached hereto and

  incorporated herein by reference as Exhibit A.

        24.    Vogel Elementary School (“Vogel”) is, and was at all times relevant

  herein, one of the EVSC’s kindergarten through sixth grade schools, with its

  campus located at 1500 Oak Hill Road, Evansville, Indiana 47711, in Vanderburgh

  County, in the State of Indiana.

        25.    During the First (or Fall) Semester of 2021, Defendant Butler was

  engaged by UE and EVSC to provide tutoring services to students at Vogel.

        26.    At the time of the events alleged herein, B.L.H., S.A.B., N.C.G., and

  D.M.F. (collectively, the “Children”) were all enrolled at and attended Vogel, with




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  S.A.B. and D.M.F. in kindergarten, N.C.G. in the first grade, and B.L.H. in the

  third grade.

        27.      All of the Children also participated in Vogel’s after school daycare

  program, but only B.L.H. and D.M.F. were involved in the tutoring program.

        28.      In or about mid-August of 2021, Defendant Butler began tutoring

  elementary students at Vogel in the tutoring program in math and other subjects

  pursuant to the UE/EVSC Agreement.

        29.      He generally tutored there two (2) days per week, typically between

  the hours of 3:15 p.m. and 5:00 p.m.

        30.      During much of his time at Vogel, Defendant Butler was left alone

  with numerous children and not just children in the tutoring program.

        31.      In fact, Defendant Butler was allowed to regularly follow young boys

  into the restroom unsupervised and without any other adult being present.

        32.      On multiple days throughout the month of November 2021, and

  perhaps at other times, as well, Defendant Butler used the camera on his cell phone

  to take pictures of each of the Children (both children in the tutoring program and

  children in the daycare program) in various stages of undress in the school

  restroom.

        33.      In December of 2021, an examination of Defendant Butler’s cell phone

  disclosed numerous photos of the Children taken while in the act of urinating, with

  their genitals exposed in several of the pictures.




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        34.    Defendant Butler took one or more such photos of B.L.H. on or about

  November 4, 2021, and perhaps on other days, as well.

        35.    Defendant Butler took one or more such photos of N.C.G. on or about

  November 10, 2021, and perhaps on other days, as well.

        36.    Defendant Butler took one or more such photos of S.A.B. on or about

  November 18, 2021, and perhaps on other days, as well.

        37.    Defendant Butler took one or more such photos of D.M.F. on or about

  November 3, 2021, again on or about December 1, 2021, and perhaps on other days,

  as well.

        38.    At least one photo taken by Defendant Butler recorded one of the

  Children with his pants pulled down and his buttocks exposed.

        39.    Defendant Butler has admitted to taking the photos of the Children,

  obtaining sexual gratification from them, and engaging in sexual acts while looking

  at these pictures.

        40.    Between the dates of August 13, 2021, and December 2, 2021,

  inclusive, Defendant Butler slid his hand over D.M.F.’s genitals while D.M.F. was

  sitting at his desk.

        41.    Between the dates of August 13, 2021, and December 2, 2021,

  inclusive, Defendant Butler also fondled D.M.F.’s genitals while D.M.F. was in the

  school restroom.




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        42.    The examination of Defendant Butler’s cell phone in December of 2021

  also disclosed numerous digital images of minor children engaged in sexual acts or

  performances, which images he apparently downloaded from the internet.

        43.    The extent, if any, to which Defendant Butler has uploaded digital

  images of the Children, or any of them, to the internet, or otherwise shared such

  photos with other persons, is not presently known to the Plaintiffs, or any of them.

        44.    Defendants UE and EVSC placed Defendant Butler in a position of

  trust with respect to youth such as the Children, and each of them.

        45.    Defendant Butler exploited unique institutional prerogatives of his

  position of trust to sexually assault, harass, and exploit the Children, and each of

  them. At the time Defendant Butler was in the course and scope of his employment

  and/or agency with Defendants UE and EVSC, and each of them.


                                        COUNT I

                                   Negligence Per Se

        46.    Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        47.    Indiana Code § 35-42-4-4(b)(1) states in relevant part:

               A person who . . . knowingly or intentionally manages, produces,
               sponsors, presents, exhibits, photographs, films, videotapes, or
               creates a digitized image of any performance or incident that
               includes sexual conduct by a child under eighteen (18) years of
               age . . . commits child exploitation, a Level 5 felony. . . .



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        48.   Indiana Code § 35-42-4-4(b)(4) states in relevant part:

              A person who . . . with the intent to satisfy or arouse the sexual
              desires of any person[,] . . . knowingly or intentionally . . .
              manages[,] produces[,] sponsors[,] presents[,] exhibits[,]
              photographs[,] films[,] videotapes; or . . . creates a digitized image
              of . . . any performance or incident that includes the uncovered
              genitals of a child less than eighteen (18) years of age . . . commits
              child exploitation, a Level 5 felony. . . .

        49.   Indiana Code § 35-42-4-4(c)(1) states in relevant part:

              However, the offense of child exploitation described in subsection
              (b) is a Level 4 felony if . . . the sexual conduct, matter,
              performance, or incident depicts or describes a child less than
              eighteen (18) years of age who . . . is less than twelve (12) years of
              age[.]

        50.   Indiana Code § 35-45-4-5(b)(2) states in relevant part:

              A person . . . who knowingly or intentionally peeps into an area
              where an occupant of the area reasonably can be expected to
              disrobe, including . . . restrooms[,] baths[,] showers[,] and . . .
              dressing rooms . . . without the consent of the other person,
              commits voyeurism, a Class B misdemeanor.

        51.   Indiana Code § 35-45-4-5(c)(1) states in relevant part:

              However, the offense under subsection (b) is a Level 6 felony if . .
              . it is knowingly or intentionally committed by means of a
              camera[.]

        52.   Indiana Code § 35-42-4-3(b) states in relevant part:

              A person who, with a child under fourteen (14) years of age,
              performs or submits to any fondling or touching, of either the
              child or the older person, with intent to arouse or to satisfy the
              sexual desires of either the child or the older person, commits
              child molesting, a Level 4 felony. . . .

        53.   Indiana Code § 35-45-4-5(d) states in relevant part:

              A person who . . . without the consent of the individual . . . and . .
              . with intent to peep at the private area of an individual . . . peeps
              at the private area of an individual and records an image by


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               means of a camera commits public voyeurism, a Class A
               misdemeanor.

        54.    Defendants, and each of them, owed the Children, and each of them, a

  number of duties, including, but not limited to, refraining from photographing the

  Children’s genitals and from photographing the Children in various stages of

  undress, from touching and exploiting the Children and to refrain from deriving

  sexually gratification from sexually exploiting and touching the Children.

        55.    Defendant Butler violated his statutory duties to the Children, and

  each of them, in a number of ways, including, but not limited to, violating Indiana

  statutes including, but not limited to, those statues cited herein.

        56.    Each of the Children was within the sphere of individuals that Indiana

  Code § 35-42-4-4(b)(1), Indiana Code § 35-42-4-4(c)(1), Indiana Code § 35-45-4-

  5(b)(2), Indiana Code § 35-45-4-5(c)(1), Indiana Code § 35-42-4-3(b), and Indiana

  Code § 35-45-4-5(d) were meant to protect.

        57.    Each said statutory violation constitutes negligence per se.

        58.    Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        59.    Defendant Butler’s statutory violations were proximate causes of

  Plaintiffs’ injuries and damages.

        60.    As a proximate result of Defendants’ conduct, Plaintiffs Ashlee E.

  Padgett and B.L.H. have suffered injuries, losses, and damages. Specifically,

  Plaintiff B.L.H. has undergone or will undergo medical and/or other health care



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  treatment, suffered physical and emotional pain and suffering, mental and

  emotional anguish, and possible destruction or impairment of his earning capacity.

  Plaintiff Ashlee E. Padgett has incurred or will incur medical bills and expenses on

  behalf of B.L.H., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT II

                                         Negligence

         61.    Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

         62.    During the First (or Fall) Semester of 2021, each of the Children was

  enrolled at and attended Vogel.




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            63.   Both N.C.G. and B.L.H. were then required to attend school subject to

  Indiana’s Compulsory School Attendance Law, codified at Indiana Code § 20-33-2-1,

  et seq.

            64.   As such, Defendants UE and EVSC accepted each of the Children into

  theirs care and responsibility in loco parentis.

            65.   Accordingly, Defendants UE and EVSC owed each of the Children

  within its care and custody duties to act reasonably, supervise and train Defendant

  Butler and other employees and to provide a safe environment, and avoid harm

  coming to youth of such tender age.

            66.   Defendants UE and EVSC negligently breached the aforementioned

  duties in a number of ways, including, but not limited to, the following: failing to

  properly screen Defendant Butler before allowing him to be in a position of trust as

  it relates to the Children, failing to properly train and supervise Defendant Butler

  and other employees and failing to inform and warn the Children and their parents

  of Defendant Butler and the risks of allowing the Children to participate in the

  tutoring and daycare programs.

            67.   Defendants UE and EVSC’s failure(s) to adhere to the applicable

  standard of care was a proximate cause of Defendant Butler’s sexual assault,

  harassment, and exploitation of the Children, and each of them.

            68.   Defendant Butler owed the Children, and each of them, a duty of

  reasonable care.




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         69.    Defendant Butler negligently breached these duties to the Children,

  and each of them, and abused his position of trust, in which he was placed by

  Defendants UE and EVSC.

         70.    As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Ashlee E. Padgett and B.L.H. have suffered injuries, losses, and

  damages. Specifically, Plaintiff B.L.H. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiff Ashlee E. Padgett has incurred or will incur medical

  bills and expenses on behalf of B.L.H., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT III

                                  Assumed Duty of Care

         71.    Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in



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  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        72.    In addition to those duties otherwise imposed by operation of Indiana

  law, Defendants UE and EVSC gratuitously or voluntarily assumed duties of care

  for the Children, and each of them, pursuant to the UE/EVSC Agreement.

        73.    Defendant UE’s and Defendant EVSC’s assumption of a duty created a

  special relationship between the parties and a corresponding duty on behalf of

  Defendants UE and EVSC to act reasonably.

        74.    Defendants UE and EVSC negligently breached their/its assumed

  duties to each of the Children, and said negligence proximately caused harm to

  Plaintiffs Ashlee E. Padgett and B.L.H.

        75.    As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Ashlee E. Padgett and B.L.H. have suffered injuries, losses, and

  damages. Specifically, Plaintiff B.L.H. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiff Ashlee E. Padgett has incurred or will incur medical

  bills and expenses on behalf of B.L.H., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of B.L.H.

        WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said




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  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT IV

                      Negligent Infliction of Emotional Distress

          76.   Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

          77.   At all times relevant herein, the Defendants, and each of them, owed a

  duty of care to Plaintiff Ashlee E. Padgett, as the parent of Plaintiff B.L.H., to

  provide for the protection, care, and safekeeping of B.L.H. within a reasonable

  standard of care.

          78.   It is irrefutably certain that Defendant Butler sexually abused B.L.H.

  on one (1) or more occasions between the dates of August 13, 2021, and December 2,

  2021.

          79.   These tortious acts were done in a secretive manner and not actually

  witnessed by Plaintiff Ashlee E. Padgett.

          80.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.



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         81.    Such abuse severely impacted Plaintiff Ashlee E. Padgett’s emotional

  health.

         82.    As a proximate result of Defendant Butler’s acts and/or conduct,

  Plaintiffs Ashlee E. Padgett and B.L.H. have suffered injuries, losses, and damages.

  Specifically, Plaintiff B.L.H. has undergone or will undergo medical and/or other

  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiff Ashlee E. Padgett has incurred or will incur medical bills and

  expenses on behalf of B.L.H. and/or herself, lost earnings, and suffered the loss of

  the care, love, affection, companionship, and support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT V

                     Intentional Infliction of Emotional Distress

         83.    Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in




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  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        84.    Defendant Butler’s conduct, as described herein, goes beyond all

  possible bounds of decency, is atrocious, and is utterly intolerable in a civilized

  community.

        85.    By engaging in the extreme and outrageous conduct described herein,

  Defendant Butler intentionally or recklessly caused severe emotional distress to

  B.L.H.

        86.    Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        87.    As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Ashlee E. Padgett and B.L.H. have suffered injuries, losses, and

  damages. Specifically, Plaintiff B.L.H. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiff Ashlee E. Padgett has incurred or will incur medical

  bills and expenses on behalf of B.L.H., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of B.L.H.

        WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said




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  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT VI

                                   Invasion of Privacy

         88.    Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

         89.    A person’s usage of restroom facilities is typically a function afforded

  great privacy.

         90.    B.L.H. expected to enjoy a modicum of privacy while using the school

  restroom, and such expectation was imminently and inherently reasonable.

         91.    In peeping on B.L.H. while using the school restroom, Defendant

  Butler intentionally invaded or intruded upon B.L.H.’s physical space without

  B.L.H.’s consent.

         92.    Such intrusion or invasion would be offensive or objectionable to a

  reasonable person, particularly where a minor child of such tender age is involved.

         93.    Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.



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         94.    As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Ashlee E. Padgett and B.L.H. have suffered injuries, losses, and

  damages. Specifically, Plaintiff B.L.H. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiff Ashlee E. Padgett has incurred or will incur medical

  bills and expenses on behalf of B.L.H., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT VII

                    Negligent Hiring, Training, and Supervision

         95.    Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.




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        96.    Defendants UE and EVSC, and each of them, owed the Children, and

  each of them, duties of reasonable care in the hiring, training, and supervision of

  their respective employees, servants, and agents to ensure that each of the very

  young students placed in their care, including each of the Children, were not placed

  in unreasonably dangerous situations or circumstances.

        97.    Defendants UE and EVSC, and each of them, negligently breached the

  aforementioned duties by, among other things, the following acts, omissions, and/or

  conduct:

               a. Hiring Defendant Butler without performing reasonable
                  background checks;

               b. Hiring Defendant Butler without performing reasonable testing to
                  ensure that Defendant Butler was an appropriate candidate to
                  provide for the care of very young students, including, but not
                  limited to, each of the Children;

               c. Failing to properly train and supervise its employees, servants, and
                  agents, including, but not limited to, Defendant Butler, to maintain
                  dual coverage supervision of the Children, and each of them, or, in
                  other words, failing to train its employees, servants, and agents to
                  avoid allowing one-on-one supervision of any of the Children by
                  Defendant Butler; and

               d. Failing to properly train its employees, servants, and agents to
                  develop appropriate safety plans, procedures, and protocols for
                  overseeing the activities of Defendant UE’s students engaged in
                  Clinical Education activities at Defendant EVSC’s schools,
                  including Vogel.

        98.    Defendant Butler’s sexual assault, harassment, and exploitation of the

  Children, and each of them, was reasonably foreseeable to Defendants UE and

  EVSC. Indeed, it is well known that sexual predators often work or volunteer at

  schools and daycares in order to have access to children.



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         99.    Defendants UE’s and EVSC’s unreasonable and negligent hiring,

  training, and supervision of their respective employees, servants, and agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs

  Ashlee E. Padgett’s and B.L.H.’s injuries, losses, and damages. Specifically,

  Plaintiff B.L.H. has undergone or will undergo medical and/or other health care

  treatment, suffered physical and emotional pain and suffering, mental and

  emotional anguish, and possible destruction or impairment of his earning capacity.

  Plaintiff Ashlee E. Padgett has incurred or will incur medical bills and expenses on

  behalf of B.L.H., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT VIII

                                    Vicarious Liability

         100.   Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in




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  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        101.   At all times relevant herein, Defendants UE’s and EVSC’s respective

  employees, servants, and agents, including, but not limited to, Defendant Butler,

  were acting in the course and scope of their employment, authority, and/or agency

  with Defendant UE and/or Defendant EVSC.

        102.   Pursuant to the doctrine of respondeat superior and/or agency law

  principles, Defendant EVSC is vicariously liable for the acts, omissions, and/or

  conduct in which its employees, servants, and/or agents, including, but not limited

  to, Defendant Butler, were engaged, while acting in the course and scope of their

  employment, authority, and/or agency.

        103.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant EVSC’s employees, servants, and/or agents are

  imputed to Defendant EVSC.

        104.   Likewise, pursuant to the doctrine of respondeat superior and/or

  agency law principles, Defendant UE is vicariously liable for the acts, omissions,

  and/or conduct in which its employees, servants, and/or agents, including, but not

  limited to, Defendant Butler, were engaged, while acting in the course and scope of

  their employment, authority, and/or agency.

        105.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant UE’s employees, servants, and/or agents are imputed

  to Defendant UE.




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         106.   The intentional conduct, the negligent conduct, and the negligence per

  se of Defendant EVSC’s and/or Defendant UE’s employees, servants, and/or agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs

  Ashlee E. Padgett’s and B.L.H.’s injuries, losses, and damages. Specifically,

  Plaintiff B.L.H. has undergone or will undergo medical and/or other health care

  treatment, suffered physical and emotional pain and suffering, mental and

  emotional anguish, and possible destruction or impairment of his earning capacity.

  Plaintiff Ashlee E. Padgett has incurred or will incur medical bills and expenses on

  behalf of B.L.H., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT IX

                              “Common Carrier” Liability

         107.   Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in




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  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        108.   Defendants UE and EVSC assumed a non-delegable duty and

  heightened responsibility for the protection, care, and safety of the Children, and

  each of them, when it accepted each of the Children into enrollment at Vogel, and,

  more particularly, into Vogel’s after school daycare program and/or tutoring

  program.

        109.   Each of the Children ceded his own autonomy, and indeed, the

  responsibility for his own safety and protection, to Defendants UE and EVSC, upon

  entering into enrollment at Vogel, and, more particularly, into Vogel’s after school

  daycare program and/or tutoring program.

        110.   Pursuant to the doctrine of common carrier liability, Defendants UE

  and EVSC are liable for the acts, omissions, and/or conduct in which its employees,

  servants, and/or agents, including, but not limited to, Defendant Butler, were

  engaged while the Children, and each of them, were upon Vogel’s campus for school

  activities, including, more particularly, its after school daycare program and/or

  tutoring program.

        111.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant UE and EVSC’s employees, servants, and/or agents

  are imputed to Defendants UE and EVSC.

        112.   The intentional conduct, the negligent conduct, and the negligence per

  se of Defendants UE and EVSC’s employees, servants, and/or agents, including, but




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  not limited to, Defendant Butler, proximately caused Plaintiffs Ashlee E. Padgett’s

  and B.L.H.’s injuries, losses, and damages. Specifically, Plaintiff B.L.H. has

  undergone or will undergo medical and/or other health care treatment, suffered

  physical and emotional pain and suffering, mental and emotional anguish, and

  possible destruction or impairment of his earning capacity. Plaintiff Ashlee E.

  Padgett has incurred or will incur medical bills and expenses on behalf of B.L.H.,

  lost earnings, and suffered the loss of the care, love, affection, companionship, and

  support of B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT X

                            Negligent Supervision of Child

         113.   Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.




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        114.    At all times relevant, Defendants UE and EVSC undertook the care,

  custody, and control of each of the Children in the absence of such supervision by

  each of the Children’s own natural or adoptive parent(s).

        115.    Defendants UE and EVSC were not any of the Children’s legal

  guardians or custodians. However, each of these Defendants assumed control of the

  routine care, oversight, and responsibility for each of the Children while in Vogel’s

  after school daycare program and/or tutoring program.

        116.    Pursuant to the doctrine of in loco parentis, each of these Defendants

  put themselves in the situation of a lawful parent by assuming the obligations

  incident to the parental relation at the time each of the Children was upon Vogel’s

  campus for participation in its after-school daycare program and/or tutoring

  program.

        117.    As such, each of these Defendants had a duty to monitor each of the

  Children under their supervision, including, but not limited to, Plaintiff B.L.H.,

  with reasonable care, considering their tender age and inability to protect

  themselves.

        118.    Defendants EVSC and UE breached their respective duties by failing

  to reasonably monitor and supervise each of the Children, including, but not limited

  to, Plaintiff B.L.H.

        119.    These Defendants’ failure to reasonably monitor and supervise

  Plaintiff B.L.H. proximately caused Plaintiffs Ashlee E. Padgett’s and B.L.H.’s

  injuries, losses, and damages. Specifically, Plaintiff B.L.H. has undergone or will




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  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiff Ashlee E. Padgett has

  incurred or will incur medical bills and expenses on behalf of B.L.H., lost earnings,

  and suffered the loss of the care, love, affection, companionship, and support of

  B.L.H.

         WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT XI

                              Sexual Harassment (Title IX)

         120.   Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

         121.   On information and belief Defendants UE and EVSC both receive

  federal funding for support of certain of their respective educational programs.




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         122.   As such, Defendants UE and EVSC are both subject to the provisions

  of Title IX of the Education Amendments of 1972, codified at 20 U.S.C. § 1681, et

  seq. (“Title IX”).

         123.   Sexual misconduct against minors, whether perpetrated by college or

  public school employees, volunteers, contractors, or other students, constitutes

  sexual harassment which is recognized and considered as a form of discrimination

  prohibited by Title IX.

         124.   Defendants UE and EVSC failed to provide each of the Children,

  including, but not limited to, Plaintiff B.L.H., with a safe educational environment.

         125.   Defendants UE and EVSC were required under Title IX to investigate

  allegations of sexual assault, sexual abuse, sexual harassment, and sexual

  exploitation of its students.

         126.   Defendant Butler’s conduct and actions toward of the Children,

  including, but not limited to, Plaintiff B.L.H., constitutes sex discrimination under

  Title IX.

         127.   There is no indication that Defendant UE or Defendant EVSC ever

  conducted any investigation or took any action to comply with their statutory duty

  while the Children were being harassed, assaulted, molested, abused, and exploited

  by Defendant Butler.

         128.   Rather, Defendants UE and EVSC acted with deliberate indifference,

  meaning that their lack of response to the numerous warning signs were clearly

  unreasonable in light of the known circumstances.




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        129.   The failures of Defendants UE and EVSC to promptly and

  appropriately investigate, remedy, and/or respond to the sexual harassment,

  assault, molestation, abuse, and exploitation of their minor students, despite having

  received actual and constructive notice of the same, subjected each of the Children,

  including, but not limited to, Plaintiff B.L.H., to further harassment and a sexually

  hostile environment, effectively denying each such child access to effective

  educational services.

        130.   As a proximate result of the foregoing acts, omissions, and/or conduct

  of Defendants UE and EVSC, Plaintiffs Ashlee E. Padgett and B.L.H. have suffered

  injuries, losses, and damages. Specifically, Plaintiff B.L.H. has undergone or will

  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiff Ashlee E. Padgett has

  incurred or will incur medical bills and expenses on behalf of B.L.H., lost earnings,

  and suffered the loss of the care, love, affection, companionship, and support of

  B.L.H.

        WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for reasonable




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  attorney’s fees, for prejudgment interest, for the costs of this action, and for all

  other relief just and proper in the premises.


                                        COUNT XII

               Federal Child Pornography Statutes (“Masha’s Law”)

        131.   Plaintiffs Ashlee E. Padgett and B.L.H., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        132.   18 U.S.C. § 2255, entitled “Civil Remedy for Personal Injuries,”

  provides that any minor who is a victim of a violation(s) of 18 U.S.C. §§ 2251,

  2252A, and/or 2252 and who suffers personal injury as a result of such violation(s)

  shall recover the actual damages such person sustains or liquidated damages in the

  amount of $150,000.00 per pornographic photo obtained and/or maintained in

  violation of federal law, and the cost of the action, including reasonable attorney’s

  fees and other litigation costs reasonably incurred.

        133.   Defendant Butler violated the federal child pornography laws found at

  18 U.S.C. §§ 2251, 2252A, and/or 2252.

        134.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        135.   B.L.H. suffered personal injury as a result of Defendant Butler’s

  violation(s) of 18 U.S.C. §§ 2251, 2252A, and/or 2252.



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        136.   B.L.H. is, therefore, entitled to recover the actual damages B.L.H. has

  sustained and will continue to sustain or liquidated damages in the amount of

  $150,000.00 per pornographic photo obtained and/or maintained in violation of

  federal law, and the cost of the action, including reasonable attorney’s fees and

  other litigation costs reasonably incurred.

        WHEREFORE, Plaintiffs Ashlee E. Padgett and B.L.H., by counsel,

  respectfully pray for judgment of and from Defendants Butler, EVSC, and UE, and

  each of them, for all such amounts as are necessary to fully compensate the said

  Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for reasonable

  attorney’s fees, for prejudgment interest, for the costs of this action, and for all

  other relief just and proper in the premises.


                                       COUNT XIII

                                    Negligence Per Se

        137.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

        138.   Indiana Code § 35-42-4-4(b)(1) states in relevant part:

               A person who . . . knowingly or intentionally manages, produces,
               sponsors, presents, exhibits, photographs, films, videotapes, or
               creates a digitized image of any performance or incident that
               includes sexual conduct by a child under eighteen (18) years of
               age . . . commits child exploitation, a Level 5 felony. . . .



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        139.   Indiana Code § 35-42-4-4(b)(4) states in relevant part:

               A person who . . . with the intent to satisfy or arouse the sexual
               desires of any person[,] . . . knowingly or intentionally . . .
               manages[,] produces[,] sponsors[,] presents[,] exhibits[,]
               photographs[,] films[,] videotapes; or . . . creates a digitized image
               of . . . any performance or incident that includes the uncovered
               genitals of a child less than eighteen (18) years of age . . . commits
               child exploitation, a Level 5 felony. . . .

        140.   Indiana Code § 35-42-4-4(c)(1) states in relevant part:

               However, the offense of child exploitation described in subsection
               (b) is a Level 4 felony if . . . the sexual conduct, matter,
               performance, or incident depicts or describes a child less than
               eighteen (18) years of age who . . . is less than twelve (12) years of
               age[.]

        141.   Indiana Code § 35-45-4-5(b)(2) states in relevant part:

               A person . . . who knowingly or intentionally peeps into an area
               where an occupant of the area reasonably can be expected to
               disrobe, including . . . restrooms[,] baths[,] showers[,] and . . .
               dressing rooms . . . without the consent of the other person,
               commits voyeurism, a Class B misdemeanor.

        142.   Indiana Code § 35-45-4-5(c)(1) states in relevant part:

               However, the offense under subsection (b) is a Level 6 felony if . .
               . it is knowingly or intentionally committed by means of a
               camera[.]

        143.   Indiana Code § 35-42-4-3(b) states in relevant part:

               A person who, with a child under fourteen (14) years of age,
               performs or submits to any fondling or touching, of either the
               child or the older person, with intent to arouse or to satisfy the
               sexual desires of either the child or the older person, commits
               child molesting, a Level 4 felony. . . .

        144.   Indiana Code § 35-45-4-5(d) states in relevant part:

               A person who . . . without the consent of the individual . . . and . .
               . with intent to peep at the private area of an individual . . . peeps
               at the private area of an individual and records an image by


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               means of a camera commits public voyeurism, a Class A
               misdemeanor.

        145.   Defendants, and each of them, owed the Children, and each of them, a

  number of duties, including, but not limited to, refraining from photographing the

  Children’s genitals and from photographing the Children in various stages of

  undress, from touching and exploiting the Children and to refrain from deriving

  sexually gratification from sexually exploiting and touching the Children.

        146.   Defendant Butler violated his statutory duties to the Children, and

  each of them, in a number of ways, including, but not limited to, violating Indiana

  statutes including, but not limited to, those statues cited herein.

        147.   Each of the Children was within the sphere of individuals that Indiana

  Code § 35-42-4-4(b)(1), Indiana Code § 35-42-4-4(c)(1), Indiana Code § 35-45-4-

  5(b)(2), Indiana Code § 35-45-4-5(c)(1), Indiana Code § 35-42-4-3(b), and Indiana

  Code § 35-45-4-5(d) were meant to protect.

        148.   Each said statutory violation constitutes negligence per se.

        149.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        150.   Defendant Butler’s statutory violations were proximate causes of

  Plaintiffs’ injuries and damages.

        151.   As a proximate result of Defendants’ conduct, Plaintiffs Casey A.

  Boyer, Kristy A. Martin, and S.A.B. have suffered injuries, losses, and damages.

  Specifically, Plaintiff S.A.B. has undergone or will undergo medical and/or other



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  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiffs Casey A. Boyer and Kristy A. Martin have incurred or will incur

  medical bills and expenses on behalf of S.A.B., lost earnings, and suffered the loss of

  the care, love, affection, companionship, and support of S.A.B.

         WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT XIV

                                         Negligence

         152.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

         153.   During the First (or Fall) Semester of 2021, each of the Children was

  enrolled at and attended Vogel.




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            154.   Both N.C.G. and B.L.H. were then required to attend school subject to

  Indiana’s Compulsory School Attendance Law, codified at Indiana Code § 20-33-2-1,

  et seq.

            155.   As such, Defendants UE and EVSC accepted each of the Children into

  theirs care and responsibility in loco parentis.

            156.   Accordingly, Defendants UE and EVSC owed each of the Children

  within its care and custody duties to act reasonably, supervise and train Defendant

  Butler and other employees and to provide a safe environment, and avoid harm

  coming to youth of such tender age.

            157.   Defendants UE and EVSC negligently breached the aforementioned

  duties in a number of ways, including, but not limited to, the following: failing to

  properly screen Defendant Butler before allowing him to be in a position of trust as

  it relates to the Children, failing to properly train and supervise Defendant Butler

  and other employees and failing to inform and warn the Children and their parents

  of Defendant Butler and the risks of allowing the Children to participate in the

  tutoring and daycare programs.

            158.   Defendants UE and EVSC’s failure(s) to adhere to the applicable

  standard of care was a proximate cause of Defendant Butler’s sexual assault,

  harassment, and exploitation of the Children, and each of them.

            159.   Defendant Butler owed the Children, and each of them, a duty of

  reasonable care.




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         160.   Defendant Butler negligently breached these duties to the Children,

  and each of them, and abused his position of trust, in which he was placed by

  Defendants UE and EVSC.

         161.   As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B. have suffered

  injuries, losses, and damages. Specifically, Plaintiff S.A.B. has undergone or will

  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Casey A. Boyer and

  Kristy A. Martin have incurred or will incur medical bills and expenses on behalf of

  S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

         WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.




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                                      COUNT XV

                                Assumed Duty of Care

        162.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

        163.   In addition to those duties otherwise imposed by operation of Indiana

  law, Defendants UE and EVSC gratuitously or voluntarily assumed duties of care

  for the Children, and each of them, pursuant to the UE/EVSC Agreement.

        164.   Defendant UE’s and Defendant EVSC’s assumption of a duty created a

  special relationship between the parties and a corresponding duty on behalf of

  Defendants UE and EVSC to act reasonably.

        165.   Defendants UE and EVSC negligently breached their/its assumed

  duties to each of the Children, and said negligence proximately caused harm to

  Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B.

        166.   As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B. have suffered

  injuries, losses, and damages. Specifically, Plaintiff S.A.B. has undergone or will

  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Casey A. Boyer and

  Kristy A. Martin have incurred or will incur medical bills and expenses on behalf of




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  S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

          WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT XVI

                      Negligent Infliction of Emotional Distress

          167.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

          168.   At all times relevant herein, the Defendants, and each of them, owed a

  duty of care to Plaintiffs Casey A. Boyer and Kristy A. Martin, as the parents of

  Plaintiff S.A.B., to provide for the protection, care, and safekeeping of S.A.B. within

  a reasonable standard of care.

          169.   It is irrefutably certain that Defendant Butler sexually abused S.A.B.

  on one (1) or more occasions between the dates of August 13, 2021, and December 2,

  2021.



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        170.   These tortious acts were done in a secretive manner and not actually

  witnessed by Plaintiffs Casey A. Boyer and Kristy A. Martin.

        171.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        172.   Such abuse severely impacted Plaintiffs Casey A. Boyer’s and Kristy A.

  Martin’s emotional health.

        173.   As a proximate result of Defendant Butler’s acts and/or conduct,

  Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B. have suffered injuries,

  losses, and damages. Specifically, Plaintiff S.A.B. has undergone or will undergo

  medical and/or other health care treatment, suffered physical and emotional pain

  and suffering, mental and emotional anguish, and possible destruction or

  impairment of his earning capacity. Plaintiffs Casey A. Boyer and Kristy A. Martin

  have incurred or will incur medical bills and expenses on behalf of S.A.B. and/or

  themselves, lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

        WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment




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  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT XVII

                      Intentional Infliction of Emotional Distress

           174.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

           175.   Defendant Butler’s conduct, as described herein, goes beyond all

  possible bounds of decency, is atrocious, and is utterly intolerable in a civilized

  community.

           176.   By engaging in the extreme and outrageous conduct described herein,

  Defendant Butler intentionally or recklessly caused severe emotional distress to

  S.A.B.

           177.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

           178.   As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B. have suffered

  injuries, losses, and damages. Specifically, Plaintiff S.A.B. has undergone or will

  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible



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  destruction or impairment of his earning capacity. Plaintiffs Casey A. Boyer and

  Kristy A. Martin have incurred or will incur medical bills and expenses on behalf of

  S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

         WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                       COUNT XVIII

                                   Invasion of Privacy

         179.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

         180.   A person’s usage of restroom facilities is typically a function afforded

  great privacy.

         181.   S.A.B. expected to enjoy a modicum of privacy while using the school

  restroom, and such expectation was imminently and inherently reasonable.




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        182.   In peeping on S.A.B. while using the school restroom, Defendant

  Butler intentionally invaded or intruded upon S.A.B.’s physical space without

  S.A.B.’s consent.

        183.   Such intrusion or invasion would be offensive or objectionable to a

  reasonable person, particularly where a minor child of such tender age is involved.

        184.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        185.   As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B. have suffered

  injuries, losses, and damages. Specifically, Plaintiff S.A.B. has undergone or will

  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Casey A. Boyer and

  Kristy A. Martin have incurred or will incur medical bills and expenses on behalf of

  S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

        WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment




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  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT XIX

                    Negligent Hiring, Training, and Supervision

         186.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

         187.   Defendants UE and EVSC, and each of them, owed the Children, and

  each of them, duties of reasonable care in the hiring, training, and supervision of

  their respective employees, servants, and agents to ensure that each of the very

  young students placed in their care, including each of the Children, were not placed

  in unreasonably dangerous situations or circumstances.

         188.   Defendants UE and EVSC, and each of them, negligently breached the

  aforementioned duties by, among other things, the following acts, omissions, and/or

  conduct:

                a. Hiring Defendant Butler without performing reasonable
                   background checks;

                b. Hiring Defendant Butler without performing reasonable testing to
                   ensure that Defendant Butler was an appropriate candidate to
                   provide for the care of very young students, including, but not
                   limited to, each of the Children;

                c. Failing to properly train and supervise its employees, servants, and
                   agents, including, but not limited to, Defendant Butler, to maintain
                   dual coverage supervision of the Children, and each of them, or, in
                   other words, failing to train its employees, servants, and agents to


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                  avoid allowing one-on-one supervision of any of the Children by
                  Defendant Butler; and

               d. Failing to properly train its employees, servants, and agents to
                  develop appropriate safety plans, procedures, and protocols for
                  overseeing the activities of Defendant UE’s students engaged in
                  Clinical Education activities at Defendant EVSC’s schools,
                  including Vogel.

        189.   Defendant Butler’s sexual assault, harassment, and exploitation of the

  Children, and each of them, was reasonably foreseeable to Defendants UE and

  EVSC. Indeed, it is well known that sexual predators often work or volunteer at

  schools and daycares in order to have access to children.

        190.   Defendants UE’s and EVSC’s unreasonable and negligent hiring,

  training, and supervision of their respective employees, servants, and agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs Casey

  A. Boyer’s, Kristy A. Martin’s, and S.A.B.’s injuries, losses, and damages.

  Specifically, Plaintiff S.A.B. has undergone or will undergo medical and/or other

  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiffs Casey A. Boyer and Kristy A. Martin have incurred or will incur

  medical bills and expenses on behalf of S.A.B., lost earnings, and suffered the loss of

  the care, love, affection, companionship, and support of S.A.B.

        WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages



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  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                         COUNT XX

                                    Vicarious Liability

         191.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

         192.   At all times relevant herein, Defendants UE’s and EVSC’s respective

  employees, servants, and agents, including, but not limited to, Defendant Butler,

  were acting in the course and scope of their employment, authority, and/or agency

  with Defendant UE and/or Defendant EVSC.

         193.   Pursuant to the doctrine of respondeat superior and/or agency law

  principles, Defendant EVSC is vicariously liable for the acts, omissions, and/or

  conduct in which its employees, servants, and/or agents, including, but not limited

  to, Defendant Butler, were engaged, while acting in the course and scope of their

  employment, authority, and/or agency.

         194.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant EVSC’s employees, servants, and/or agents are

  imputed to Defendant EVSC.




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        195.   Likewise, pursuant to the doctrine of respondeat superior and/or

  agency law principles, Defendant UE is vicariously liable for the acts, omissions,

  and/or conduct in which its employees, servants, and/or agents, including, but not

  limited to, Defendant Butler, were engaged, while acting in the course and scope of

  their employment, authority, and/or agency.

        196.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant UE’s employees, servants, and/or agents are imputed

  to Defendant UE.

        197.   The intentional conduct, the negligent conduct, and the negligence per

  se of Defendant EVSC’s and/or Defendant UE’s employees, servants, and/or agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs Casey

  A. Boyer’s, Kristy A. Martin’s, and S.A.B.’s injuries, losses, and damages.

  Specifically, Plaintiff S.A.B. has undergone or will undergo medical and/or other

  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiffs Casey A. Boyer and Kristy A. Martin have incurred or will incur

  medical bills and expenses on behalf of S.A.B., lost earnings, and suffered the loss of

  the care, love, affection, companionship, and support of S.A.B.

        WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages




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  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.


                                        COUNT XXI

                              “Common Carrier” Liability

         198.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

         199.   Defendants UE and EVSC assumed a non-delegable duty and

  heightened responsibility for the protection, care, and safety of the Children, and

  each of them, when it accepted each of the Children into enrollment at Vogel, and,

  more particularly, into Vogel’s after school daycare program and/or tutoring

  program.

         200.   Each of the Children ceded his own autonomy, and indeed, the

  responsibility for his own safety and protection, to Defendants UE and EVSC, upon

  entering into enrollment at Vogel, and, more particularly, into Vogel’s after school

  daycare program and/or tutoring program.

         201.   Pursuant to the doctrine of common carrier liability, Defendants UE

  and EVSC are liable for the acts, omissions, and/or conduct in which its employees,

  servants, and/or agents, including, but not limited to, Defendant Butler, were

  engaged while the Children, and each of them, were upon Vogel’s campus for school



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  activities, including, more particularly, its after school daycare program and/or

  tutoring program.

         202.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant UE and EVSC’s employees, servants, and/or agents

  are imputed to Defendants UE and EVSC.

         203.   The intentional conduct, the negligent conduct, and the negligence per

  se of Defendants UE and EVSC’s employees, servants, and/or agents, including, but

  not limited to, Defendant Butler, proximately caused Plaintiffs Casey A. Boyer’s,

  Kristy A. Martin’s, and S.A.B.’s injuries, losses, and damages. Specifically, Plaintiff

  S.A.B. has undergone or will undergo medical and/or other health care treatment,

  suffered physical and emotional pain and suffering, mental and emotional anguish,

  and possible destruction or impairment of his earning capacity. Plaintiffs Casey A.

  Boyer and Kristy A. Martin have incurred or will incur medical bills and expenses

  on behalf of S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

         WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.




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                                      COUNT XXII

                           Negligent Supervision of Child

        204.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

        205.   At all times relevant, Defendants UE and EVSC undertook the care,

  custody, and control of each of the Children in the absence of such supervision by

  each of the Children’s own natural or adoptive parent(s).

        206.   Defendants UE and EVSC were not any of the Children’s legal

  guardians or custodians. However, each of these Defendants assumed control of the

  routine care, oversight, and responsibility for each of the Children while in Vogel’s

  after school daycare program and/or tutoring program.

        207.   Pursuant to the doctrine of in loco parentis, each of these Defendants

  put themselves in the situation of a lawful parent by assuming the obligations

  incident to the parental relation at the time each of the Children was upon Vogel’s

  campus for participation in its after-school daycare program and/or tutoring

  program.

        208.   As such, each of these Defendants had a duty to monitor each of the

  Children under their supervision, including, but not limited to, Plaintiff S.A.B., with

  reasonable care, considering their tender age and inability to protect themselves.




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         209.   Defendants EVSC and UE breached their respective duties by failing

  to reasonably monitor and supervise each of the Children, including, but not limited

  to, Plaintiff S.A.B.

         210.   These Defendants’ failure to reasonably monitor and supervise

  Plaintiff S.A.B. proximately caused Plaintiffs Casey A. Boyer’s, Kristy A. Martin’s,

  and S.A.B.’s injuries, losses, and damages. Specifically, Plaintiff S.A.B. has

  undergone or will undergo medical and/or other health care treatment, suffered

  physical and emotional pain and suffering, mental and emotional anguish, and

  possible destruction or impairment of his earning capacity. Plaintiffs Casey A.

  Boyer and Kristy A. Martin have incurred or will incur medical bills and expenses

  on behalf of S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

         WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for prejudgment

  interest, for the costs of this action, and for all other relief just and proper in the

  premises.




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                                     COUNT XXIII

                             Sexual Harassment (Title IX)

         211.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

         212.   On information and belief Defendants UE and EVSC both receive

  federal funding for support of certain of their respective educational programs.

         213.   As such, Defendants UE and EVSC are both subject to the provisions

  of Title IX of the Education Amendments of 1972, codified at 20 U.S.C. § 1681, et

  seq. (“Title IX”).

         214.   Sexual misconduct against minors, whether perpetrated by college or

  public school employees, volunteers, contractors, or other students, constitutes

  sexual harassment which is recognized and considered as a form of discrimination

  prohibited by Title IX.

         215.   Defendants UE and EVSC failed to provide each of the Children,

  including, but not limited to, Plaintiff S.A.B., with a safe educational environment.

         216.   Defendants UE and EVSC were required under Title IX to investigate

  allegations of sexual assault, sexual abuse, sexual harassment, and sexual

  exploitation of its students.

         217.   Defendant Butler’s conduct and actions toward of the Children,

  including, but not limited to, Plaintiff S.A.B., constitutes sex discrimination under

  Title IX.


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        218.   There is no indication that Defendant UE or Defendant EVSC ever

  conducted any investigation or took any action to comply with their statutory duty

  while the Children were being harassed, assaulted, molested, abused, and exploited

  by Defendant Butler.

        219.   Rather, Defendants UE and EVSC acted with deliberate indifference,

  meaning that their lack of response to the numerous warning signs were clearly

  unreasonable in light of the known circumstances.

        220.   The failures of Defendants UE and EVSC to promptly and

  appropriately investigate, remedy, and/or respond to the sexual harassment,

  assault, molestation, abuse, and exploitation of their minor students, despite having

  received actual and constructive notice of the same, subjected each of the Children,

  including, but not limited to, Plaintiff S.A.B., to further harassment and a sexually

  hostile environment, effectively denying each such child access to effective

  educational services.

        221.   As a proximate result of the foregoing acts, omissions, and/or conduct

  of Defendants UE and EVSC, Plaintiffs Casey A. Boyer, Kristy A. Martin, and

  S.A.B. have suffered injuries, losses, and damages. Specifically, Plaintiff S.A.B. has

  undergone or will undergo medical and/or other health care treatment, suffered

  physical and emotional pain and suffering, mental and emotional anguish, and

  possible destruction or impairment of his earning capacity. Plaintiffs Casey A.

  Boyer and Kristy A. Martin have incurred or will incur medical bills and expenses




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  on behalf of S.A.B., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of S.A.B.

        WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for reasonable

  attorney’s fees, for prejudgment interest, for the costs of this action, and for all

  other relief just and proper in the premises.


                                       COUNT XXIV

               Federal Child Pornography Statutes (“Masha’s Law”)

        222.   Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by counsel,

  respectfully incorporate herein by this reference the material allegations contained

  in paragraphs 1 through 45, inclusive, above, the same as if set forth in their

  entirety in this Count of their Complaint.

        223.   18 U.S.C. § 2255, entitled “Civil Remedy for Personal Injuries,”

  provides that any minor who is a victim of a violation(s) of 18 U.S.C. §§ 2251,

  2252A, and/or 2252 and who suffers personal injury as a result of such violation(s)

  shall recover the actual damages such person sustains or liquidated damages in the

  amount of $150,000.00 per pornographic photo obtained and/or maintained in

  violation of federal law, and the cost of the action, including reasonable attorney’s

  fees and other litigation costs reasonably incurred.



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        224.   Defendant Butler violated the federal child pornography laws found at

  18 U.S.C. §§ 2251, 2252A, and/or 2252.

        225.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        226.   S.A.B. suffered personal injury as a result of Defendant Butler’s

  violation(s) of 18 U.S.C. §§ 2251, 2252A, and/or 2252.

        227.   S.A.B. is, therefore, entitled to recover the actual damages S.A.B. has

  sustained and will continue to sustain or liquidated damages in the amount of

  $150,000.00 per pornographic photo obtained and/or maintained in violation of

  federal law, and the cost of the action, including reasonable attorney’s fees and

  other litigation costs reasonably incurred.

        WHEREFORE, Plaintiffs Casey A. Boyer, Kristy A. Martin, and S.A.B., by

  counsel, respectfully pray for judgment of and from Defendants Butler, EVSC, and

  UE, and each of them, for all such amounts as are necessary to fully compensate the

  said Plaintiffs, and each of them, for their respective injuries, losses, and damages

  sustained as a result of the foregoing, for punitive damages, for reasonable

  attorney’s fees, for prejudgment interest, for the costs of this action, and for all

  other relief just and proper in the premises.




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                                      COUNT XXV

                                   Negligence Per Se

        228.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        229.   Indiana Code § 35-42-4-4(b)(1) states in relevant part:

               A person who . . . knowingly or intentionally manages, produces,
               sponsors, presents, exhibits, photographs, films, videotapes, or
               creates a digitized image of any performance or incident that
               includes sexual conduct by a child under eighteen (18) years of
               age . . . commits child exploitation, a Level 5 felony. . . .

        230.   Indiana Code § 35-42-4-4(b)(4) states in relevant part:

               A person who . . . with the intent to satisfy or arouse the sexual
               desires of any person[,] . . . knowingly or intentionally . . .
               manages[,] produces[,] sponsors[,] presents[,] exhibits[,]
               photographs[,] films[,] videotapes; or . . . creates a digitized image
               of . . . any performance or incident that includes the uncovered
               genitals of a child less than eighteen (18) years of age . . . commits
               child exploitation, a Level 5 felony. . . .

        231.   Indiana Code § 35-42-4-4(c)(1) states in relevant part:

               However, the offense of child exploitation described in subsection
               (b) is a Level 4 felony if . . . the sexual conduct, matter,
               performance, or incident depicts or describes a child less than
               eighteen (18) years of age who . . . is less than twelve (12) years of
               age[.]

        232.   Indiana Code § 35-45-4-5(b)(2) states in relevant part:

               A person . . . who knowingly or intentionally peeps into an area
               where an occupant of the area reasonably can be expected to
               disrobe, including . . . restrooms[,] baths[,] showers[,] and . . .
               dressing rooms . . . without the consent of the other person,
               commits voyeurism, a Class B misdemeanor.


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        233.   Indiana Code § 35-45-4-5(c)(1) states in relevant part:

               However, the offense under subsection (b) is a Level 6 felony if . .
               . it is knowingly or intentionally committed by means of a
               camera[.]

        234.   Indiana Code § 35-42-4-3(b) states in relevant part:

               A person who, with a child under fourteen (14) years of age,
               performs or submits to any fondling or touching, of either the
               child or the older person, with intent to arouse or to satisfy the
               sexual desires of either the child or the older person, commits
               child molesting, a Level 4 felony. . . .

        235.   Indiana Code § 35-45-4-5(d) states in relevant part:

               A person who . . . without the consent of the individual . . . and . .
               . with intent to peep at the private area of an individual . . . peeps
               at the private area of an individual and records an image by
               means of a camera commits public voyeurism, a Class A
               misdemeanor.

        236.   Defendants, and each of them, owed the Children, and each of them, a

  number of duties, including, but not limited to, refraining from photographing the

  Children’s genitals and from photographing the Children in various stages of

  undress, from touching and exploiting the Children and to refrain from deriving

  sexually gratification from sexually exploiting and touching the Children.

        237.   Defendant Butler violated his statutory duties to the Children, and

  each of them, in a number of ways, including, but not limited to, violating Indiana

  statutes including, but not limited to, those statues cited herein.

        238.   Each of the Children was within the sphere of individuals that Indiana

  Code § 35-42-4-4(b)(1), Indiana Code § 35-42-4-4(c)(1), Indiana Code § 35-45-4-

  5(b)(2), Indiana Code § 35-45-4-5(c)(1), Indiana Code § 35-42-4-3(b), and Indiana

  Code § 35-45-4-5(d) were meant to protect.


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        239.   Each said statutory violation constitutes negligence per se.

        240.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        241.   Defendant Butler’s statutory violations were proximate causes of

  Plaintiffs’ injuries and damages.

        242.   As a proximate result of Defendants’ conduct, Plaintiffs Sean R.

  Giolitto, Christopher S. Pentecost, and N.C.G. have suffered injuries, losses, and

  damages. Specifically, Plaintiff N.C.G. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiffs Sean R. Giolitto and Christopher S. Pentecost have

  incurred or will incur medical bills and expenses on behalf of N.C.G., lost earnings,

  and suffered the loss of the care, love, affection, companionship, and support of

  N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.




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                                         COUNT XXVI

                                          Negligence

            243.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

            244.   During the First (or Fall) Semester of 2021, each of the Children was

  enrolled at and attended Vogel.

            245.   Both N.C.G. and B.L.H. were then required to attend school subject to

  Indiana’s Compulsory School Attendance Law, codified at Indiana Code § 20-33-2-1,

  et seq.

            246.   As such, Defendants UE and EVSC accepted each of the Children into

  theirs care and responsibility in loco parentis.

            247.   Accordingly, Defendants UE and EVSC owed each of the Children

  within its care and custody duties to act reasonably, supervise and train Defendant

  Butler and other employees and to provide a safe environment, and avoid harm

  coming to youth of such tender age.

            248.   Defendants UE and EVSC negligently breached the aforementioned

  duties in a number of ways, including, but not limited to, the following: failing to

  properly screen Defendant Butler before allowing him to be in a position of trust as

  it relates to the Children, failing to properly train and supervise Defendant Butler

  and other employees and failing to inform and warn the Children and their parents




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  of Defendant Butler and the risks of allowing the Children to participate in the

  tutoring and daycare programs.

        249.   Defendants UE and EVSC’s failure(s) to adhere to the applicable

  standard of care was a proximate cause of Defendant Butler’s sexual assault,

  harassment, and exploitation of the Children, and each of them.

        250.   Defendant Butler owed the Children, and each of them, a duty of

  reasonable care.

        251.   Defendant Butler negligently breached these duties to the Children,

  and each of them, and abused his position of trust, in which he was placed by

  Defendants UE and EVSC.

        252.   As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G. have

  suffered injuries, losses, and damages. Specifically, Plaintiff N.C.G. has undergone

  or will undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Sean R. Giolitto and

  Christopher S. Pentecost have incurred or will incur medical bills and expenses on

  behalf of N.C.G., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully




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  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                      COUNT XXVII

                                 Assumed Duty of Care

        253.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        254.   In addition to those duties otherwise imposed by operation of Indiana

  law, Defendants UE and EVSC gratuitously or voluntarily assumed duties of care

  for the Children, and each of them, pursuant to the UE/EVSC Agreement.

        255.   Defendant UE’s and Defendant EVSC’s assumption of a duty created a

  special relationship between the parties and a corresponding duty on behalf of

  Defendants UE and EVSC to act reasonably.

        256.   Defendants UE and EVSC negligently breached their/its assumed

  duties to each of the Children, and said negligence proximately caused harm to

  Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G.

        257.   As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G. have

  suffered injuries, losses, and damages. Specifically, Plaintiff N.C.G. has undergone



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  or will undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Sean R. Giolitto and

  Christopher S. Pentecost have incurred or will incur medical bills and expenses on

  behalf of N.C.G., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                     COUNT XXVIII

                     Negligent Infliction of Emotional Distress

        258.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        259.   At all times relevant herein, the Defendants, and each of them, owed a

  duty of care to Plaintiffs Sean R. Giolitto and Christopher S. Pentecost, as the




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  parents of Plaintiff N.C.G., to provide for the protection, care, and safekeeping of

  N.C.G. within a reasonable standard of care.

          260.   It is irrefutably certain that Defendant Butler sexually abused N.C.G.

  on one (1) or more occasions between the dates of August 13, 2021, and December 2,

  2021.

          261.   These tortious acts were done in a secretive manner and not actually

  witnessed by Plaintiffs Sean R. Giolitto and Christopher S. Pentecost.

          262.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

          263.   Such abuse severely impacted Plaintiffs Sean R. Giolitto’s and

  Christopher S. Pentecost’s emotional health.

          264.   As a proximate result of Defendant Butler’s acts and/or conduct,

  Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G. have suffered

  injuries, losses, and damages. Specifically, Plaintiff N.C.G. has undergone or will

  undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Sean R. Giolitto and

  Christopher S. Pentecost have incurred or will incur medical bills and expenses on

  behalf of N.C.G. and/or themselves, lost earnings, and suffered the loss of the care,

  love, affection, companionship, and support of N.C.G.




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        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                      COUNT XXIX

                    Intentional Infliction of Emotional Distress

        265.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        266.   Defendant Butler’s conduct, as described herein, goes beyond all

  possible bounds of decency, is atrocious, and is utterly intolerable in a civilized

  community.

        267.   By engaging in the extreme and outrageous conduct described herein,

  Defendant Butler intentionally or recklessly caused severe emotional distress to

  N.C.G.

        268.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.



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        269.   As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G. have

  suffered injuries, losses, and damages. Specifically, Plaintiff N.C.G. has undergone

  or will undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Sean R. Giolitto and

  Christopher S. Pentecost have incurred or will incur medical bills and expenses on

  behalf of N.C.G., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                       COUNT XXX

                                   Invasion of Privacy

        270.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.



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        271.   A person’s usage of restroom facilities is typically a function afforded

  great privacy.

        272.   N.C.G. expected to enjoy a modicum of privacy while using the school

  restroom, and such expectation was imminently and inherently reasonable.

        273.   In peeping on N.C.G. while using the school restroom, Defendant

  Butler intentionally invaded or intruded upon N.C.G.’s physical space without

  N.C.G.’s consent.

        274.   Such intrusion or invasion would be offensive or objectionable to a

  reasonable person, particularly where a minor child of such tender age is involved.

        275.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        276.   As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G. have

  suffered injuries, losses, and damages. Specifically, Plaintiff N.C.G. has undergone

  or will undergo medical and/or other health care treatment, suffered physical and

  emotional pain and suffering, mental and emotional anguish, and possible

  destruction or impairment of his earning capacity. Plaintiffs Sean R. Giolitto and

  Christopher S. Pentecost have incurred or will incur medical bills and expenses on

  behalf of N.C.G., lost earnings, and suffered the loss of the care, love, affection,

  companionship, and support of N.C.G.




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        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                      COUNT XXXI

                    Negligent Hiring, Training, and Supervision

        277.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        278.   Defendants UE and EVSC, and each of them, owed the Children, and

  each of them, duties of reasonable care in the hiring, training, and supervision of

  their respective employees, servants, and agents to ensure that each of the very

  young students placed in their care, including each of the Children, were not placed

  in unreasonably dangerous situations or circumstances.

        279.   Defendants UE and EVSC, and each of them, negligently breached the

  aforementioned duties by, among other things, the following acts, omissions, and/or

  conduct:

               a. Hiring Defendant Butler without performing reasonable
                  background checks;


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               b. Hiring Defendant Butler without performing reasonable testing to
                  ensure that Defendant Butler was an appropriate candidate to
                  provide for the care of very young students, including, but not
                  limited to, each of the Children;

               c. Failing to properly train and supervise its employees, servants, and
                  agents, including, but not limited to, Defendant Butler, to maintain
                  dual coverage supervision of the Children, and each of them, or, in
                  other words, failing to train its employees, servants, and agents to
                  avoid allowing one-on-one supervision of any of the Children by
                  Defendant Butler; and

               d. Failing to properly train its employees, servants, and agents to
                  develop appropriate safety plans, procedures, and protocols for
                  overseeing the activities of Defendant UE’s students engaged in
                  Clinical Education activities at Defendant EVSC’s schools,
                  including Vogel.

        280.   Defendant Butler’s sexual assault, harassment, and exploitation of the

  Children, and each of them, was reasonably foreseeable to Defendants UE and

  EVSC. Indeed, it is well known that sexual predators often work or volunteer at

  schools and daycares in order to have access to children.

        281.   Defendants UE’s and EVSC’s unreasonable and negligent hiring,

  training, and supervision of their respective employees, servants, and agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs Sean

  R. Giolitto’s, Christopher S. Pentecost’s, and N.C.G.’s injuries, losses, and damages.

  Specifically, Plaintiff N.C.G. has undergone or will undergo medical and/or other

  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiffs Sean R. Giolitto and Christopher S. Pentecost have incurred or

  will incur medical bills and expenses on behalf of N.C.G., lost earnings, and suffered

  the loss of the care, love, affection, companionship, and support of N.C.G.


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        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                      COUNT XXXII

                                   Vicarious Liability

        282.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        283.   At all times relevant herein, Defendants UE’s and EVSC’s respective

  employees, servants, and agents, including, but not limited to, Defendant Butler,

  were acting in the course and scope of their employment, authority, and/or agency

  with Defendant UE and/or Defendant EVSC.

        284.   Pursuant to the doctrine of respondeat superior and/or agency law

  principles, Defendant EVSC is vicariously liable for the acts, omissions, and/or

  conduct in which its employees, servants, and/or agents, including, but not limited

  to, Defendant Butler, were engaged, while acting in the course and scope of their

  employment, authority, and/or agency.



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        285.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant EVSC’s employees, servants, and/or agents are

  imputed to Defendant EVSC.

        286.   Likewise, pursuant to the doctrine of respondeat superior and/or

  agency law principles, Defendant UE is vicariously liable for the acts, omissions,

  and/or conduct in which its employees, servants, and/or agents, including, but not

  limited to, Defendant Butler, were engaged, while acting in the course and scope of

  their employment, authority, and/or agency.

        287.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant UE’s employees, servants, and/or agents are imputed

  to Defendant UE.

        288.   The intentional conduct, the negligent conduct, and the negligence per

  se of Defendant EVSC’s and/or Defendant UE’s employees, servants, and/or agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs Sean

  R. Giolitto’s, Christopher S. Pentecost’s, and N.C.G.’s injuries, losses, and damages.

  Specifically, Plaintiff N.C.G. has undergone or will undergo medical and/or other

  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiffs Sean R. Giolitto and Christopher S. Pentecost have incurred or

  will incur medical bills and expenses on behalf of N.C.G., lost earnings, and suffered

  the loss of the care, love, affection, companionship, and support of N.C.G.




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        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                     COUNT XXXIII

                              “Common Carrier” Liability

        289.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        290.   Defendants UE and EVSC assumed a non-delegable duty and

  heightened responsibility for the protection, care, and safety of the Children, and

  each of them, when it accepted each of the Children into enrollment at Vogel, and,

  more particularly, into Vogel’s after school daycare program and/or tutoring

  program.

        291.   Each of the Children ceded his own autonomy, and indeed, the

  responsibility for his own safety and protection, to Defendants UE and EVSC, upon

  entering into enrollment at Vogel, and, more particularly, into Vogel’s after school

  daycare program and/or tutoring program.



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        292.   Pursuant to the doctrine of common carrier liability, Defendants UE

  and EVSC are liable for the acts, omissions, and/or conduct in which its employees,

  servants, and/or agents, including, but not limited to, Defendant Butler, were

  engaged while the Children, and each of them, were upon Vogel’s campus for school

  activities, including, more particularly, its after school daycare program and/or

  tutoring program.

        293.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant UE and EVSC’s employees, servants, and/or agents

  are imputed to Defendants UE and EVSC.

        294.   The intentional conduct, the negligent conduct, and the negligence per

  se of Defendants UE and EVSC’s employees, servants, and/or agents, including, but

  not limited to, Defendant Butler, proximately caused Plaintiffs Sean R. Giolitto’s,

  Christopher S. Pentecost’s, and N.C.G.’s injuries, losses, and damages. Specifically,

  Plaintiff N.C.G. has undergone or will undergo medical and/or other health care

  treatment, suffered physical and emotional pain and suffering, mental and

  emotional anguish, and possible destruction or impairment of his earning capacity.

  Plaintiffs Sean R. Giolitto and Christopher S. Pentecost have incurred or will incur

  medical bills and expenses on behalf of N.C.G., lost earnings, and suffered the loss

  of the care, love, affection, companionship, and support of N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully




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  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                      COUNT XXXIV

                            Negligent Supervision of Child

        295.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        296.   At all times relevant, Defendants UE and EVSC undertook the care,

  custody, and control of each of the Children in the absence of such supervision by

  each of the Children’s own natural or adoptive parent(s).

        297.   Defendants UE and EVSC were not any of the Children’s legal

  guardians or custodians. However, each of these Defendants assumed control of the

  routine care, oversight, and responsibility for each of the Children while in Vogel’s

  after school daycare program and/or tutoring program.

        298.   Pursuant to the doctrine of in loco parentis, each of these Defendants

  put themselves in the situation of a lawful parent by assuming the obligations

  incident to the parental relation at the time each of the Children was upon Vogel’s

  campus for participation in its after-school daycare program and/or tutoring

  program.



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        299.    As such, each of these Defendants had a duty to monitor each of the

  Children under their supervision, including, but not limited to, Plaintiff N.C.G.,

  with reasonable care, considering their tender age and inability to protect

  themselves.

        300.    Defendants EVSC and UE breached their respective duties by failing

  to reasonably monitor and supervise each of the Children, including, but not limited

  to, Plaintiff N.C.G.

        301.    These Defendants’ failure to reasonably monitor and supervise

  Plaintiff N.C.G. proximately caused Plaintiffs Sean R. Giolitto’s, Christopher S.

  Pentecost’s, and N.C.G.’s injuries, losses, and damages. Specifically, Plaintiff

  N.C.G. has undergone or will undergo medical and/or other health care treatment,

  suffered physical and emotional pain and suffering, mental and emotional anguish,

  and possible destruction or impairment of his earning capacity. Plaintiffs Sean R.

  Giolitto and Christopher S. Pentecost have incurred or will incur medical bills and

  expenses on behalf of N.C.G., lost earnings, and suffered the loss of the care, love,

  affection, companionship, and support of N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for




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  prejudgment interest, for the costs of this action, and for all other relief just and

  proper in the premises.


                                      COUNT XXXV

                             Sexual Harassment (Title IX)

         302.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

         303.   On information and belief Defendants UE and EVSC both receive

  federal funding for support of certain of their respective educational programs.

         304.   As such, Defendants UE and EVSC are both subject to the provisions

  of Title IX of the Education Amendments of 1972, codified at 20 U.S.C. § 1681, et

  seq. (“Title IX”).

         305.   Sexual misconduct against minors, whether perpetrated by college or

  public school employees, volunteers, contractors, or other students, constitutes

  sexual harassment which is recognized and considered as a form of discrimination

  prohibited by Title IX.

         306.   Defendants UE and EVSC failed to provide each of the Children,

  including, but not limited to, Plaintiff N.C.G., with a safe educational environment.

         307.   Defendants UE and EVSC were required under Title IX to investigate

  allegations of sexual assault, sexual abuse, sexual harassment, and sexual

  exploitation of its students.



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        308.   Defendant Butler’s conduct and actions toward of the Children,

  including, but not limited to, Plaintiff N.C.G., constitutes sex discrimination under

  Title IX.

        309.   There is no indication that Defendant UE or Defendant EVSC ever

  conducted any investigation or took any action to comply with their statutory duty

  while the Children were being harassed, assaulted, molested, abused, and exploited

  by Defendant Butler.

        310.   Rather, Defendants UE and EVSC acted with deliberate indifference,

  meaning that their lack of response to the numerous warning signs were clearly

  unreasonable in light of the known circumstances.

        311.   The failures of Defendants UE and EVSC to promptly and

  appropriately investigate, remedy, and/or respond to the sexual harassment,

  assault, molestation, abuse, and exploitation of their minor students, despite having

  received actual and constructive notice of the same, subjected each of the Children,

  including, but not limited to, Plaintiff N.C.G., to further harassment and a sexually

  hostile environment, effectively denying each such child access to effective

  educational services.

        312.   As a proximate result of the foregoing acts, omissions, and/or conduct

  of Defendants UE and EVSC, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost,

  and N.C.G. have suffered injuries, losses, and damages. Specifically, Plaintiff

  N.C.G. has undergone or will undergo medical and/or other health care treatment,

  suffered physical and emotional pain and suffering, mental and emotional anguish,




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  and possible destruction or impairment of his earning capacity. Plaintiffs Sean R.

  Giolitto and Christopher S. Pentecost have incurred or will incur medical bills and

  expenses on behalf of N.C.G., lost earnings, and suffered the loss of the care, love,

  affection, companionship, and support of N.C.G.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  reasonable attorney’s fees, for prejudgment interest, for the costs of this action, and

  for all other relief just and proper in the premises.


                                     COUNT XXXVI

               Federal Child Pornography Statutes (“Masha’s Law”)

        313.   Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and N.C.G., by

  counsel, respectfully incorporate herein by this reference the material allegations

  contained in paragraphs 1 through 45, inclusive, above, the same as if set forth in

  their entirety in this Count of their Complaint.

        314.   18 U.S.C. § 2255, entitled “Civil Remedy for Personal Injuries,”

  provides that any minor who is a victim of a violation(s) of 18 U.S.C. §§ 2251,

  2252A, and/or 2252 and who suffers personal injury as a result of such violation(s)

  shall recover the actual damages such person sustains or liquidated damages in the

  amount of $150,000.00 per pornographic photo obtained and/or maintained in



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  violation of federal law, and the cost of the action, including reasonable attorney’s

  fees and other litigation costs reasonably incurred.

        315.   Defendant Butler violated the federal child pornography laws found at

  18 U.S.C. §§ 2251, 2252A, and/or 2252.

        316.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        317.   N.C.G. suffered personal injury as a result of Defendant Butler’s

  violation(s) of 18 U.S.C. §§ 2251, 2252A, and/or 2252.

        318.   N.C.G. is, therefore, entitled to recover the actual damages N.C.G. has

  sustained and will continue to sustain or liquidated damages in the amount of

  $150,000.00 per pornographic photo obtained and/or maintained in violation of

  federal law, and the cost of the action, including reasonable attorney’s fees and

  other litigation costs reasonably incurred.

        WHEREFORE, Plaintiffs Sean R. Giolitto, Christopher S. Pentecost, and

  N.C.G., by counsel, respectfully pray for judgment of and from Defendants Butler,

  EVSC, and UE, and each of them, for all such amounts as are necessary to fully

  compensate the said Plaintiffs, and each of them, for their respective injuries,

  losses, and damages sustained as a result of the foregoing, for punitive damages, for

  reasonable attorney’s fees, for prejudgment interest, for the costs of this action, and

  for all other relief just and proper in the premises.




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                                      COUNT XXXVII

                                   Negligence Per Se

        319.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        320.   Indiana Code § 35-42-4-4(b)(1) states in relevant part:

               A person who . . . knowingly or intentionally manages, produces,
               sponsors, presents, exhibits, photographs, films, videotapes, or
               creates a digitized image of any performance or incident that
               includes sexual conduct by a child under eighteen (18) years of
               age . . . commits child exploitation, a Level 5 felony. . . .

        321.   Indiana Code § 35-42-4-4(b)(4) states in relevant part:

               A person who . . . with the intent to satisfy or arouse the sexual
               desires of any person[,] . . . knowingly or intentionally . . .
               manages[,] produces[,] sponsors[,] presents[,] exhibits[,]
               photographs[,] films[,] videotapes; or . . . creates a digitized image
               of . . . any performance or incident that includes the uncovered
               genitals of a child less than eighteen (18) years of age . . . commits
               child exploitation, a Level 5 felony. . . .

        322.   Indiana Code § 35-42-4-4(c)(1) states in relevant part:

               However, the offense of child exploitation described in subsection
               (b) is a Level 4 felony if . . . the sexual conduct, matter,
               performance, or incident depicts or describes a child less than
               eighteen (18) years of age who . . . is less than twelve (12) years of
               age[.]

        323.   Indiana Code § 35-45-4-5(b)(2) states in relevant part:

               A person . . . who knowingly or intentionally peeps into an area
               where an occupant of the area reasonably can be expected to
               disrobe, including . . . restrooms[,] baths[,] showers[,] and . . .
               dressing rooms . . . without the consent of the other person,
               commits voyeurism, a Class B misdemeanor.


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        324.   Indiana Code § 35-45-4-5(c)(1) states in relevant part:

               However, the offense under subsection (b) is a Level 6 felony if . .
               . it is knowingly or intentionally committed by means of a
               camera[.]

        325.   Indiana Code § 35-42-4-3(b) states in relevant part:

               A person who, with a child under fourteen (14) years of age,
               performs or submits to any fondling or touching, of either the
               child or the older person, with intent to arouse or to satisfy the
               sexual desires of either the child or the older person, commits
               child molesting, a Level 4 felony. . . .

        326.   Indiana Code § 35-45-4-5(d) states in relevant part:

               A person who . . . without the consent of the individual . . . and . .
               . with intent to peep at the private area of an individual . . . peeps
               at the private area of an individual and records an image by
               means of a camera commits public voyeurism, a Class A
               misdemeanor.

        327.   Defendants, and each of them, owed the Children, and each of them, a

  number of duties, including, but not limited to, refraining from photographing the

  Children’s genitals and from photographing the Children in various stages of

  undress, from touching and exploiting the Children and to refrain from deriving

  sexually gratification from sexually exploiting and touching the Children.

        328.   Defendant Butler violated his statutory duties to the Children, and

  each of them, in a number of ways, including, but not limited to, violating Indiana

  statutes including, but not limited to, those statues cited herein.

        329.   Each of the Children was within the sphere of individuals that Indiana

  Code § 35-42-4-4(b)(1), Indiana Code § 35-42-4-4(c)(1), Indiana Code § 35-45-4-

  5(b)(2), Indiana Code § 35-45-4-5(c)(1), Indiana Code § 35-42-4-3(b), and Indiana

  Code § 35-45-4-5(d) were meant to protect.


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        330.   Each said statutory violation constitutes negligence per se.

        331.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        332.   Defendant Butler’s statutory violations were proximate causes of

  Plaintiffs’ injuries and damages.

        333.   As a proximate result of Defendants’ conduct, Plaintiffs Haley Kanizar

  and D.M.F. have suffered injuries, losses, and damages. Specifically, Plaintiff

  D.M.F. has undergone or will undergo medical and/or other health care treatment,

  suffered physical and emotional pain and suffering, mental and emotional anguish,

  and possible destruction or impairment of his earning capacity. Plaintiff Haley

  Kanizar has incurred or will incur medical bills and expenses on behalf of D.M.F.,

  lost earnings, and suffered the loss of the care, love, affection, companionship, and

  support of D.M.F.

        WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result

  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.




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                                      COUNT XXXVIII

                                          Negligence

            334.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

            335.   During the First (or Fall) Semester of 2021, each of the Children was

  enrolled at and attended Vogel.

            336.   Both N.C.G. and B.L.H. were then required to attend school subject to

  Indiana’s Compulsory School Attendance Law, codified at Indiana Code § 20-33-2-1,

  et seq.

            337.   As such, Defendants UE and EVSC accepted each of the Children into

  theirs care and responsibility in loco parentis.

            338.   Accordingly, Defendants UE and EVSC owed each of the Children

  within its care and custody duties to act reasonably, supervise and train Defendant

  Butler and other employees and to provide a safe environment, and avoid harm

  coming to youth of such tender age.

            339.   Defendants UE and EVSC negligently breached the aforementioned

  duties in a number of ways, including, but not limited to, the following: failing to

  properly screen Defendant Butler before allowing him to be in a position of trust as

  it relates to the Children, failing to properly train and supervise Defendant Butler

  and other employees and failing to inform and warn the Children and their parents




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  of Defendant Butler and the risks of allowing the Children to participate in the

  tutoring and daycare programs.

        340.   Defendants UE and EVSC’s failure(s) to adhere to the applicable

  standard of care was a proximate cause of Defendant Butler’s sexual assault,

  harassment, and exploitation of the Children, and each of them.

        341.   Defendant Butler owed the Children, and each of them, a duty of

  reasonable care.

        342.   Defendant Butler negligently breached these duties to the Children,

  and each of them, and abused his position of trust, in which he was placed by

  Defendants UE and EVSC.

        343.   As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and

  damages. Specifically, Plaintiff D.M.F. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiff Haley Kanizar has incurred or will incur medical

  bills and expenses on behalf of D.M.F., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of D.M.F.

        WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result




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  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.


                                      COUNT XXXIX

                                 Assumed Duty of Care

        344.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        345.   In addition to those duties otherwise imposed by operation of Indiana

  law, Defendants UE and EVSC gratuitously or voluntarily assumed duties of care

  for the Children, and each of them, pursuant to the UE/EVSC Agreement.

        346.   Defendant UE’s and Defendant EVSC’s assumption of a duty created a

  special relationship between the parties and a corresponding duty on behalf of

  Defendants UE and EVSC to act reasonably.

        347.   Defendants UE and EVSC negligently breached their/its assumed

  duties to each of the Children, and said negligence proximately caused harm to

  Plaintiffs Haley Kanizar and D.M.F.

        348.   As a proximate result of Defendants’ negligent acts, omissions, and/or

  conduct, Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and

  damages. Specifically, Plaintiff D.M.F. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of



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  his earning capacity. Plaintiff Haley Kanizar has incurred or will incur medical

  bills and expenses on behalf of D.M.F., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of D.M.F.

          WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result

  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.


                                       COUNT XL

                      Negligent Infliction of Emotional Distress

          349.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

          350.   At all times relevant herein, the Defendants, and each of them, owed a

  duty of care to Plaintiff Haley Kanizar, as the parent of Plaintiff D.M.F., to provide

  for the protection, care, and safekeeping of D.M.F. within a reasonable standard of

  care.

          351.   It is irrefutably certain that Defendant Butler sexually abused D.M.F.

  on one (1) or more occasions between the dates of August 13, 2021, and December 2,




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  2021, including, but not limited to, fondling or touching D.M.F.’s genitals on at least

  two (2) occasions during that time period.

        352.   These tortious acts were done in a secretive manner and not actually

  witnessed by Plaintiff Haley Kanizar.

        353.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        354.   Such abuse severely impacted Plaintiff Haley Kanizar’s emotional

  health.

        355.   As a proximate result of Defendant Butler’s acts and/or conduct,

  Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and damages.

  Specifically, Plaintiff D.M.F. has undergone or will undergo medical and/or other

  health care treatment, suffered physical and emotional pain and suffering, mental

  and emotional anguish, and possible destruction or impairment of his earning

  capacity. Plaintiff Haley Kanizar has incurred or will incur medical bills and

  expenses on behalf of D.M.F. and/or herself, lost earnings, and suffered the loss of

  the care, love, affection, companionship, and support of D.M.F.

        WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result




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  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.


                                       COUNT XLI

                    Intentional Infliction of Emotional Distress

        356.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        357.   Defendant Butler’s conduct, as described herein, goes beyond all

  possible bounds of decency, is atrocious, and is utterly intolerable in a civilized

  community.

        358.   By engaging in the extreme and outrageous conduct described herein,

  Defendant Butler intentionally or recklessly caused severe emotional distress to

  D.M.F.

        359.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        360.   As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and

  damages. Specifically, Plaintiff D.M.F. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of



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  his earning capacity. Plaintiff Haley Kanizar has incurred or will incur medical

  bills and expenses on behalf of D.M.F., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of D.M.F.

        WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result

  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.


                                      COUNT XLII

                                  Invasion of Privacy

        361.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        362.   A person’s usage of restroom facilities is typically a function afforded

  great privacy.

        363.   D.M.F. expected to enjoy a modicum of privacy while using the school

  restroom, and such expectation was imminently and inherently reasonable.

        364.   In peeping on D.M.F. while using the school restroom, Defendant

  Butler intentionally invaded or intruded upon D.M.F.’s physical space without

  D.M.F.’s consent.



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        365.   Such intrusion or invasion would be offensive or objectionable to a

  reasonable person, particularly where a minor child of such tender age is involved.

        366.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

  omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

  agency law principles.

        367.   As a proximate result of Defendant Butler’s acts, omissions, and/or

  conduct, Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and

  damages. Specifically, Plaintiff D.M.F. has undergone or will undergo medical

  and/or other health care treatment, suffered physical and emotional pain and

  suffering, mental and emotional anguish, and possible destruction or impairment of

  his earning capacity. Plaintiff Haley Kanizar has incurred or will incur medical

  bills and expenses on behalf of D.M.F., lost earnings, and suffered the loss of the

  care, love, affection, companionship, and support of D.M.F.

        WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result

  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.




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                                      COUNT XLIII

                   Negligent Hiring, Training, and Supervision

        368.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        369.   Defendants UE and EVSC, and each of them, owed the Children, and

  each of them, duties of reasonable care in the hiring, training, and supervision of

  their respective employees, servants, and agents to ensure that each of the very

  young students placed in their care, including each of the Children, were not placed

  in unreasonably dangerous situations or circumstances.

        370.   Defendants UE and EVSC, and each of them, negligently breached the

  aforementioned duties by, among other things, the following acts, omissions, and/or

  conduct:

               a. Hiring Defendant Butler without performing reasonable
                  background checks;

               b. Hiring Defendant Butler without performing reasonable testing to
                  ensure that Defendant Butler was an appropriate candidate to
                  provide for the care of very young students, including, but not
                  limited to, each of the Children;

               c. Failing to properly train and supervise its employees, servants, and
                  agents, including, but not limited to, Defendant Butler, to maintain
                  dual coverage supervision of the Children, and each of them, or, in
                  other words, failing to train its employees, servants, and agents to
                  avoid allowing one-on-one supervision of any of the Children by
                  Defendant Butler; and

               d. Failing to properly train its employees, servants, and agents to
                  develop appropriate safety plans, procedures, and protocols for


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                   overseeing the activities of Defendant UE’s students engaged in
                   Clinical Education activities at Defendant EVSC’s schools,
                   including Vogel.

        371.   Defendant Butler’s sexual assault, harassment, and exploitation of the

  Children, and each of them, was reasonably foreseeable to Defendants UE and

  EVSC. Indeed, it is well known that sexual predators often work or volunteer at

  schools and daycares in order to have access to children.

        372.   Defendants UE’s and EVSC’s unreasonable and negligent hiring,

  training, and supervision of their respective employees, servants, and agents,

  including, but not limited to, Defendant Butler, proximately caused Plaintiffs Haley

  Kanizar’s and D.M.F.’s injuries, losses, and damages. Specifically, Plaintiff D.M.F.

  has undergone or will undergo medical and/or other health care treatment, suffered

  physical and emotional pain and suffering, mental and emotional anguish, and

  possible destruction or impairment of his earning capacity. Plaintiff Haley Kanizar

  has incurred or will incur medical bills and expenses on behalf of D.M.F., lost

  earnings, and suffered the loss of the care, love, affection, companionship, and

  support of D.M.F.

        WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

  for all such amounts as are necessary to fully compensate the said Plaintiffs, and

  each of them, for their respective injuries, losses, and damages sustained as a result

  of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

  action, and for all other relief just and proper in the premises.




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                                      COUNT XLIV

                                  Vicarious Liability

        373.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

  incorporate herein by this reference the material allegations contained in

  paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

  in this Count of their Complaint.

        374.   At all times relevant herein, Defendants UE’s and EVSC’s respective

  employees, servants, and agents, including, but not limited to, Defendant Butler,

  were acting in the course and scope of their employment, authority, and/or agency

  with Defendant UE and/or Defendant EVSC.

        375.   Pursuant to the doctrine of respondeat superior and/or agency law

  principles, Defendant EVSC is vicariously liable for the acts, omissions, and/or

  conduct in which its employees, servants, and/or agents, including, but not limited

  to, Defendant Butler, were engaged, while acting in the course and scope of their

  employment, authority, and/or agency.

        376.   In other words, the intentional conduct, the negligent conduct, and the

  negligence per se of Defendant EVSC’s employees, servants, and/or agents are

  imputed to Defendant EVSC.

        377.   Likewise, pursuant to the doctrine of respondeat superior and/or

  agency law principles, Defendant UE is vicariously liable for the acts, omissions,

  and/or conduct in which its employees, servants, and/or agents, including, but not

  limited to, Defendant Butler, were engaged, while acting in the course and scope of

  their employment, authority, and/or agency.


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         378.   In other words, the intentional conduct, the negligent conduct, and the

   negligence per se of Defendant UE’s employees, servants, and/or agents are imputed

   to Defendant UE.

         379.   The intentional conduct, the negligent conduct, and the negligence per

   se of Defendant EVSC’s and/or Defendant UE’s employees, servants, and/or agents,

   including, but not limited to, Defendant Butler, proximately caused Plaintiffs Haley

   Kanizar’s and D.M.F.’s injuries, losses, and damages. Specifically, Plaintiff D.M.F.

   has undergone or will undergo medical and/or other health care treatment, suffered

   physical and emotional pain and suffering, mental and emotional anguish, and

   possible destruction or impairment of his earning capacity. Plaintiff Haley Kanizar

   has incurred or will incur medical bills and expenses on behalf of D.M.F., lost

   earnings, and suffered the loss of the care, love, affection, companionship, and

   support of D.M.F.

         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result

   of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

   action, and for all other relief just and proper in the premises.




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                                       COUNT XLV

                              “Common Carrier” Liability

         380.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   incorporate herein by this reference the material allegations contained in

   paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

   in this Count of their Complaint.

         381.   Defendants UE and EVSC assumed a non-delegable duty and

   heightened responsibility for the protection, care, and safety of the Children, and

   each of them, when it accepted each of the Children into enrollment at Vogel, and,

   more particularly, into Vogel’s after school daycare program and/or tutoring

   program.

         382.   Each of the Children ceded his own autonomy, and indeed, the

   responsibility for his own safety and protection, to Defendants UE and EVSC, upon

   entering into enrollment at Vogel, and, more particularly, into Vogel’s after school

   daycare program and/or tutoring program.

         383.   Pursuant to the doctrine of common carrier liability, Defendants UE

   and EVSC are liable for the acts, omissions, and/or conduct in which its employees,

   servants, and/or agents, including, but not limited to, Defendant Butler, were

   engaged while the Children, and each of them, were upon Vogel’s campus for school

   activities, including, more particularly, its after school daycare program and/or

   tutoring program.




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         384.   In other words, the intentional conduct, the negligent conduct, and the

   negligence per se of Defendant UE and EVSC’s employees, servants, and/or agents

   are imputed to Defendants UE and EVSC.

         385.   The intentional conduct, the negligent conduct, and the negligence per

   se of Defendants UE and EVSC’s employees, servants, and/or agents, including, but

   not limited to, Defendant Butler, proximately caused Plaintiffs Haley Kanizar’s and

   D.M.F.’s injuries, losses, and damages. Specifically, Plaintiff D.M.F. has undergone

   or will undergo medical and/or other health care treatment, suffered physical and

   emotional pain and suffering, mental and emotional anguish, and possible

   destruction or impairment of his earning capacity. Plaintiff Haley Kanizar has

   incurred or will incur medical bills and expenses on behalf of D.M.F., lost earnings,

   and suffered the loss of the care, love, affection, companionship, and support of

   D.M.F.

         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result

   of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

   action, and for all other relief just and proper in the premises.




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                                       COUNT XLVI

                             Negligent Supervision of Child

         386.    Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   incorporate herein by this reference the material allegations contained in

   paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

   in this Count of their Complaint.

         387.    At all times relevant, Defendants UE and EVSC undertook the care,

   custody, and control of each of the Children in the absence of such supervision by

   each of the Children’s own natural or adoptive parent(s).

         388.    Defendants UE and EVSC were not any of the Children’s legal

   guardians or custodians. However, each of these Defendants assumed control of the

   routine care, oversight, and responsibility for each of the Children while in Vogel’s

   after school daycare program and/or tutoring program.

         389.    Pursuant to the doctrine of in loco parentis, each of these Defendants

   put themselves in the situation of a lawful parent by assuming the obligations

   incident to the parental relation at the time each of the Children was upon Vogel’s

   campus for participation in its after-school daycare program and/or tutoring

   program.

         390.    As such, each of these Defendants had a duty to monitor each of the

   Children under their supervision, including, but not limited to, Plaintiff D.M.F.,

   with reasonable care, considering their tender age and inability to protect

   themselves.




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         391.   Defendants EVSC and UE breached their respective duties by failing

   to reasonably monitor and supervise each of the Children, including, but not limited

   to, Plaintiff D.M.F.

         392.   These Defendants’ failure to reasonably monitor and supervise

   Plaintiff D.M.F. proximately caused Plaintiffs Haley Kanizar’s and D.M.F.’s

   injuries, losses, and damages. Specifically, Plaintiff D.M.F. has undergone or will

   undergo medical and/or other health care treatment, suffered physical and

   emotional pain and suffering, mental and emotional anguish, and possible

   destruction or impairment of his earning capacity. Plaintiff Haley Kanizar has

   incurred or will incur medical bills and expenses on behalf of D.M.F., lost earnings,

   and suffered the loss of the care, love, affection, companionship, and support of

   D.M.F.

         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result

   of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

   action, and for all other relief just and proper in the premises.


                                      COUNT XLVII

                              Sexual Harassment (Title IX)

         393.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   incorporate herein by this reference the material allegations contained in



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   paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

   in this Count of their Complaint.

          394.   On information and belief Defendants UE and EVSC both receive

   federal funding for support of certain of their respective educational programs.

          395.   As such, Defendants UE and EVSC are both subject to the provisions

   of Title IX of the Education Amendments of 1972, codified at 20 U.S.C. § 1681, et

   seq. (“Title IX”).

          396.   Sexual misconduct against minors, whether perpetrated by college or

   public school employees, volunteers, contractors, or other students, constitutes

   sexual harassment which is recognized and considered as a form of discrimination

   prohibited by Title IX.

          397.   Defendants UE and EVSC failed to provide each of the Children,

   including, but not limited to, Plaintiff D.M.F., with a safe educational environment.

          398.   Defendants UE and EVSC were required under Title IX to investigate

   allegations of sexual assault, sexual abuse, sexual harassment, and sexual

   exploitation of its students.

          399.   Defendant Butler’s conduct and actions toward of the Children,

   including, but not limited to, Plaintiff D.M.F., constitutes sex discrimination under

   Title IX.

          400.   There is no indication that Defendant UE or Defendant EVSC ever

   conducted any investigation or took any action to comply with their statutory duty




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   while the Children were being harassed, assaulted, molested, abused, and exploited

   by Defendant Butler.

         401.   Rather, Defendants UE and EVSC acted with deliberate indifference,

   meaning that their lack of response to the numerous warning signs were clearly

   unreasonable in light of the known circumstances.

         402.   The failures of Defendants UE and EVSC to promptly and

   appropriately investigate, remedy, and/or respond to the sexual harassment,

   assault, molestation, abuse, and exploitation of their minor students, despite having

   received actual and constructive notice of the same, subjected each of the Children,

   including, but not limited to, Plaintiff D.M.F., to further harassment and a sexually

   hostile environment, effectively denying each such child access to effective

   educational services.

         403.   As a proximate result of the foregoing acts, omissions, and/or conduct

   of Defendants UE and EVSC, Plaintiffs Haley Kanizar and D.M.F. have suffered

   injuries, losses, and damages. Specifically, Plaintiff D.M.F. has undergone or will

   undergo medical and/or other health care treatment, suffered physical and

   emotional pain and suffering, mental and emotional anguish, and possible

   destruction or impairment of his earning capacity. Plaintiff Haley Kanizar has

   incurred or will incur medical bills and expenses on behalf of D.M.F., lost earnings,

   and suffered the loss of the care, love, affection, companionship, and support of

   D.M.F.




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         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result

   of the foregoing, for punitive damages, for reasonable attorney’s fees, for

   prejudgment interest, for the costs of this action, and for all other relief just and

   proper in the premises.


                                       COUNT XLVIII

                Federal Child Pornography Statutes (“Masha’s Law”)

         404.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   incorporate herein by this reference the material allegations contained in

   paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

   in this Count of their Complaint.

         405.   18 U.S.C. § 2255, entitled “Civil Remedy for Personal Injuries,”

   provides that any minor who is a victim of a violation(s) of 18 U.S.C. §§ 2251,

   2252A, and/or 2252 and who suffers personal injury as a result of such violation(s)

   shall recover the actual damages such person sustains or liquidated damages in the

   amount of $150,000.00 per pornographic photo obtained and/or maintained in

   violation of federal law, and the cost of the action, including reasonable attorney’s

   fees and other litigation costs reasonably incurred.

         406.   Defendant Butler violated the federal child pornography laws found at

   18 U.S.C. §§ 2251, 2252A, and/or 2252.



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         407.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

   omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

   agency law principles.

         408.   D.M.F. suffered personal injury as a result of Defendant Butler’s

   violation(s) of 18 U.S.C. §§ 2251, 2252A, and/or 2252.

         409.   D.M.F. is, therefore, entitled to recover the actual damages D.M.F. has

   sustained and will continue to sustain or liquidated damages in the amount of

   $150,000.00 per pornographic photo obtained and/or maintained in violation of

   federal law, and the cost of the action, including reasonable attorney’s fees and

   other litigation costs reasonably incurred.

         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result

   of the foregoing, for punitive damages, for reasonable attorney’s fees, for

   prejudgment interest, for the costs of this action, and for all other relief just and

   proper in the premises.


                                       COUNT XLIX

                                           Battery

         410.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   incorporate herein by this reference the material allegations contained in




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   paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

   in this Count of their Complaint.

         411.   Between the dates of August 13, 2021, and December 2, 2021,

   inclusive, Defendant Butler intentionally, knowingly, and/or recklessly touched

   D.M.F., in a rude, insolent, or angry manner, without D.M.F.’s permission or

   authorization.

         412.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

   omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

   agency law principles.

         413.   As a proximate result of Defendant Butler’s acts, omissions, and/or

   conduct, Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and

   damages. Specifically, Plaintiff D.M.F. has undergone or will undergo medical

   and/or other health care treatment, suffered physical and emotional pain and

   suffering, mental and emotional anguish, and possible destruction or impairment of

   his earning capacity. Plaintiff Haley Kanizar has incurred or will incur medical

   bills and expenses on behalf of D.M.F., lost earnings, and suffered the loss of the

   care, love, affection, companionship, and support of D.M.F.

         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result




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   of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

   action, and for all other relief just and proper in the premises.


                                         COUNT L

                                       Sexual Battery

         414.   Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   incorporate herein by this reference the material allegations contained in

   paragraphs 1 through 45, inclusive, above, the same as if set forth in their entirety

   in this Count of their Complaint.

         415.   Between the dates of August 13, 2021, and December 2, 2021,

   inclusive, on two (2) or more occasions, Defendant Butler, with intent to arouse or

   satisfy his own sexual desires, fondled or touched D.M.F.’s genitals.

         416.   As a child of only five (5) years of age, D.M.F. was both legally and

   intellectually incapable of giving consent to such manner of touching.

         417.   Defendants UE and EVSC are responsible for Defendant Butler’s acts,

   omissions, and/or conduct pursuant to the doctrine of respondeat superior and/or

   agency law principles.

         418.   As a proximate result of Defendant Butler’s acts, omissions, and/or

   conduct, Plaintiffs Haley Kanizar and D.M.F. have suffered injuries, losses, and

   damages. Specifically, Plaintiff D.M.F. has undergone or will undergo medical

   and/or other health care treatment, suffered physical and emotional pain and

   suffering, mental and emotional anguish, and possible destruction or impairment of

   his earning capacity. Plaintiff Haley Kanizar has incurred or will incur medical



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   bills and expenses on behalf of D.M.F., lost earnings, and suffered the loss of the

   care, love, affection, companionship, and support of D.M.F.

         WHEREFORE, Plaintiffs Haley Kanizar and D.M.F., by counsel, respectfully

   pray for judgment of and from Defendants Butler, EVSC, and UE, and each of them,

   for all such amounts as are necessary to fully compensate the said Plaintiffs, and

   each of them, for their respective injuries, losses, and damages sustained as a result

   of the foregoing, for punitive damages, for prejudgment interest, for the costs of this

   action, and for all other relief just and proper in the premises.



                                             Respectfully submitted,


                                             Lane C. Siesky, Atty. No. 21094-53
                                             Daniel B. Gearhart, Atty No. 24194-49
                                             Douglas K. Briody, Of Counsel,
                                               Atty. No. 17883-82
                                             SIESKY LAW FIRM, PC
                                             4424 Vogel Rd., Suite 405
                                             Evansville, Indiana 47715
                                             Telephone: (812) 402-7700
                                             Fax: (812) 402-7744
                                             lane@sieskylaw.com
                                             dan@sieskylaw.com
                                             doug@sieskylaw.com
                                             ATTORNEYS FOR PLAINTIFFS




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                             DEMAND FOR TRIAL BY JURY

         Plaintiffs, by counsel, respectfully request a trial by jury on all counts of this

   Complaint so triable.


                                             Respectfully submitted,


                                             Lane C. Siesky, Atty. No. 21094-53
                                             Daniel B. Gearhart, Atty No. 24194-49
                                             Douglas K. Briody, Of Counsel,
                                               Atty. No. 17883-82
                                             SIESKY LAW FIRM, PC
                                             4424 Vogel Rd., Suite 405
                                             Evansville, Indiana 47715
                                             Telephone: (812) 402-7700
                                             Fax: (812) 402-7744
                                             lane@sieskylaw.com
                                             dan@sieskylaw.com
                                             doug@sieskylaw.com
                                             ATTORNEYS FOR PLAINTIFFS



                         CERTIFICATION OF COMPLIANCE
                     OF PLEADINGS WITH IND. TRIAL RULE 5(G)

          I hereby certify that the foregoing document complies with the requirements
   of Ind. Trial Rule 5(G) with regard to information excluded from the public record
   under Ind. Access to Court Records Rule 5.



                                             Lane C. Siesky




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                             82C01-2304-CT-001700                              #:4/6/2023
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                                                                                                                                   Clerk
                                                Vanderburgh Circuit Court                                    Vanderburgh County, Indiana




                                  CLINICAL EDUCATION AGREEMENT
                                                 STUDENT TEACHING

              THIS CLINICAL EDUCATION AGREEMENT, ("Agreement") made and entered into, by and
      between, the EVANSVILLE VANOERBVRGH SCHOOL EVSC ("EVSC") and THE UNIVERSITY
      OF EVANS VILLE, ("UNIVERSITY"),

                                                     WITNESSETH:
              WHEREAS, the above parties wish to foam a relationship to provide educational experience for one or
      more students enrolled at (hereafter "Student"), through its teacher education program (the "Program" or
      "Programs"); and

             WHEREAS UNIVERSITY desires to obtain teaching experience for its students enrolled in the University's
      undergraduate or master's programs ("Students"); and

              WHEREAS the EVSC is a public school corporation willing to allow student teaching and practical
      experience for UNIVERSITY Students; and

              WHEREAS pursuant to J.C. 20-26-5-23, UNIVERSITY and EVSC agree to provide UNIVERSITY's
      Students with training and experience in student teaching at the EVSC's schools.

               NOW, THEREFORE, in consideration of the provisions set forth herein, UNIVERSITY and EVSC agree
      as follows:

             I. Definitions
                     a. "Student Teacher" shall mean a student enrolled at and assigned by UNIVERSITY to student
                        teach in the EVSC, as part of the Student's preparation for entering the teaching profession.
                     b. "Student" shall mean a student in a pre-student teaching experience. "Pre-student teaching" shall
                        mean a student enrolled at and assigned by UNIVERSITY to teach for a field experience prior to
                        student teaching, commonly referenced at levels of practicum, participation and observation in
                        the EVSC as part of the requirements for an endorsement, certificate or minor added to the basic
                        license being sought. Pre-student teaching field experiences involve a less than full responsibility
                        for instruction or instruction-related activities.
                     c. "Mentor Teacher'' shall mean a teacher in the EVSC to whom students or student teachers are
                        assigned for their field experience(s).
                     d. "University Supervisor" or "Course Instructor" shall mean a designated UNIVERSITY employee
                        in charge of the course of student or specific experience for which the student is assigned to the
                        EVSC.

             2. Term
                The term of this Agreement shall be for one (1) year, commencing August 1, 2021 and ending July
                31, 2022. This Agreement will automatically renew for two (2) successive one (I) year terms unless
                terminated in writing by either party at least thirty (30) days prior to the anniversary date.


             3. Responsibilities of UNIVERSITY
                UNIVERSITY shall adhere to the EVSC's school calendar and abide by the EVSC's policies, regulations
                and procedures currently or hereafter adopted by the EVSC to the extent necessary to complete its
                obligations under this Agreement.
                    a. UNIVERSITY shall collect and review student teacher applications and formally recommend

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                     only those student teachers who meet the requisite education and training qualifications for
                     placement in the Program. Student teachers must be in good standing and must obtain all required
                     approvals to be recommended.
                  b. Prior to interaction with EVSC students, All UNIVERSITY employees and students, at their own
                     expense, shall undergo an expanded criminal background check (as defined in I.C. 20-26-2-1.S)
                     as well as Child Protection Index Check. Evaluator(s) shall provide EVSC with proof of clean
                     expanded criminal background checks and clean Child Protection Index Checks.
                  c. UNIVERSITY shall direct students and student teachers to comply with EVSC's generally
                     applicable policies for faculty and volunteers, including without limitation arrival times,
                     identification policies, dress code and sign-in requirements.

           4. Responsibilities of the EVSC
              In connection with the Program(s) offered under this Agreement, the EVSC shall:
                  a. Consider all student teaching applicants who meet UNIVERSITY' s minimum criteria for student
                      teaching.
                  b. Provide Mentor Teacher(s), support staff and facilities for student supervision;
                  c. Ensure that Mentor Teachers provide appropriate supervision to student teachers and students in
                      pre-student teaching experiences, and treat all as professionals who are expected to follow all
                      EVSC rules and regulations;
                  d. Encourage students and student teachers to participate in the availability of in-service education
                      programs;
                  e. Provide students and student teachers the same protection against liability arising in connection
                     with their assignments in the EVSC as is provided for members of the EVSC's permanent faculty.
                  f. Retain primary responsibility for the educational experience of its pupils and for the orderly
                     conduct of its schools.

          S. Student Assignment
             Students and student teachers are not officers, employees or agents of EVSC. UNIVERSITY and the
             EVSC will be jointly responsible for assigning student(s) and student teacher(s), and planning the field
             experience.
                 a. EVSC's administrator or designee shall determine the number of students and student teachers
                     that EVSC can accommodate. EVSC may decline UNIVBRSITY's request for placement if
                     positions are not available.
                 b. EVSC's administrator or designee shall allocate specific classroom assignment(s) in accordance
                     with UNIVERSITY's guidelines for placement.
                 c. Student teachers shall not be permitted to independently arrange any assignment(s) with an EVSC
                     administrator or any Mentor Teacher.

          6. Coordination and Planning
             The parties shall meet as necessary to plan, evaluate and/or modify the field experience program. The
             parties shall keep one another informed of changes in supervision, coordination and/or expectations
             regarding placement or the program.

          7. Student Teaching and Pre-Student Teaching Supervision
             Students and student teachers shall be subject to the rules and regulations of the EVSC and under the
             direction and control of the Supervising or Mentor Teacher, principal, and other administrative personnel




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               while they are on the premises of the EVSC or acting on behalf of the BVSC in locations other than the
               premises.
                  a. The Mentor Teacher may leave the classroom with the Student Teacher in charge of the class for a
                       limited amount of time, but the Ment~r Tea~her shall, at all times, retain the responsibility for
                       control of the class and the program of instruction.
                   b. The Mentor Teacher shall not leave the classroom with the Student(s) in charge of the class.
                  c. Students and student teachers who are not licensed shall not be used as a substitute for their
                       Mentor Teacher or for any other licensed personnel.
                  d. Mentor Teachers shall submit all required paperwork, including evaluations prescribed by
                       UNIVERSITY in order for the collabQration to be considered final.

               The University Supervisor or other designated representative of UNIVERSITY shall have access, at all
               reasonable times, to visit the classroom(s) to which students and student teachers have been assigned for
               purposes of observation and supervision.

           8. Responsibilities of the Parties
               During all times that the Parties are operating under this agreement, UNIVERSITY agrees to:
                  •   Maintain its accreditation with appropriate accrediting bodies.
                  •   Retain responsibility for the education of each Student, including assigning one or more
                      appropriately certified Faculty Members who shall coordinate Student practical learning and
                      clinical experiences and assist EVSC in monitoring the quality of the experience provided by
                      Students in accordance with Program expectations. Upon EVSC's written request to
                      UNIVERSITY's Faculty Members, the Faculty members shall provide EVSC with curriculum
                      and course content information.
                  •   Provide EVSC with (i) names and contact information for appropriate Faculty members, (ii)
                      the name and contact information for \JNIVBRSITY's contact person for purposes of
                      questions and providing notices as set forth herein, and (iii) the name, class level, and
                      educational experience desired for each Student who will be assigned to the Facility.

           EVSC shall be responsible for the following:
                 • EVSC will permit UNIVERSITY to use its facilities as described herein.
                 • EVSC retains the ultimate responsibility for its students and the related duties,
                 • EVSC will assist in orienting the faculty members to whatever is necessary to give them a
                     thorough understanding of EVSC's practices used by UNIVERSITY's Students.
                 • EVSC shall not expect Students to perform over and above the skills needed by Students in
                     the achievement of their educational goals, nor shall any compensation be made to
                     UNIVERSITY, or its Students by EVSC for services provided by Students during their
                     clinical assignments.
          9. Removal by EVSC
              EVSC may remove a student or a student teacher from the Program for violating BVSC rules and
              regulations or for such actions the EVSC views as detrimental to the students in the classroom.
              UNIVERSITY personnel will be consulted before final action is taken and adhere to the Policy and
              Procedures Related to Dismissal from Student Teaching in cases involving student teachers. At the
              BVSC's request, the EVSC may immediately remove any student or student teacher from all EVSC
              properties in cases where the EVSC, in its sole discretion, determines that removal of that student or
              student teacher is in the EVSC's best interests.




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           I0. Removal by UNIVERSITY
               UNIVERSITY, through its Office of Teacher Education Services and Clinical Practice or other such
               designated agent, may immediately remove a student or student teacher from the Program for violating
               UNIVERSITY rules and regulations, or ifit determines, in its sole discretion, that removal of that student
               is in UNIVERSITY's best interests, according to the Policy and Procedures Related to Dismissal from
               Student Teaching. UNIVERSITY shall promptly notify EVSC of any such removal.

           11. No Smoking, Drugs, or Alcohol
               All EVSC properties are tobacco-free, drug-free, and alcohol-free zones. Students and student teachers
               are prohibited from possessing and/or using any tobacco, drugs, or alcohol on EVSC property.

           12. No Weapons or Firearms
               Except as provided by statute, all EVSC properties are weapons and firearm-free zones. Students and
               student teachers are prohibited from possessing on their persons or in their vehicles any weapons or
               firearms while on EVSC property.

           13. Technology and Furniture
               In agreement with the EVSC, technology and furniture purchased by UNIVERSITY for the use within a
               school and housed within a school, remains UNIVERSITY property.

           14. Family Educational Rights and Privacy Act ("FERPA") Compliance
              Neither party shall disclose any infonnation or records regarding the other's students/student teachers or
              their families that the party may learn or obtain in the course of their respective performances under this
              Agreement. The parties recognize that the Family Education Rights and Privacy Act (20 U.S.C. § 1232g;
              34 CPR Part 99) imposes strict penalties for improper disclosure or re-disclosure of confidential student
              information, including but not limited to, personally identifiable information.

              Consistent with FERPA requirements, neither party will use any personally identifiable information
              acquired from the other for any purpose other than performing the services of functions of this
              Agreement. Further, the parties agree that even in circumstances that might justify an exception under
              FERPA, neither party may disclose or re-disclose personally identifiable information unless the other has
              first authorized such disclosure or re-disclosure in writing.

           15. Cost
               No cost shall be incurred by EVSC.

          16. Termination ofSpeclftcServlce
              Either party may terminate this Agreement by giving ninety (90) days prior written notice to the
              expiration of the then current year of this Agreement. In no event, however, shall this Agreement be
              terminated without just cause before all Students in a given class have completed their full student
              program, where such Students have started their programs as hereinafter described, during the term of this
              Agreement.

          17. Indemniflcation
              UNIVERSITY shall defend, indemnify, and hold harmless EVSC, its directors, trustees, agents, officers,
              employees, and representatives, of. from, and against all third party claims, liabilities, costs, expenses,
              damages and judgments, including reasonable attorneys' fees, incurred by EVSC resulting, directly or
              indirectly from the UNIVERSITY's performance, lack of performance, actions or inactions thereunder;
              provided, however, that UNIVERSITY shall not be responsible for that part of any damage, liability, cost
              or loss




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               (including reasonable attorneys' fees and expenses) incurred by EVSC which results from the negligence
               ofEVSC.

               Likewise, EVSC shall defend, indemnify, and hold hannless UNIVERSITY, its directors, trustees,
               agents, officers, employees, andrepresentatives, of, from, and against all third party claims, liabilities,
               costs, expenses, damages and judgments, including reasonable attorneys' fees, incurred by
               UNIVERSITY resulting, directly or in4irectly from the EVSC's performance, lack of performance,
               actions or inactions thereunder; provided, however, that evsc shall not be responsible for that part of
               any damage, liability, cost or loss (including reasonable attorneys' fees and expenses) incurred by
               UNIVERSITY which results from the negligence of UNIVERSlTY.

           18. E-Verify Compliance
               Pursuant to J.C. 22-s .. 1.7, UNIVERSITY shall enroll in and verify the work eligibility status of all newly
               hired employees of UNIVERSITY involved in this Agreement through the E-Verify Program (Program),
               UNIVERSITY is not required to verify the work eligibility status of all newly hired employees through
               the Program if the Program no longer exists. Also pursuant to I.C. 22..s.. 1.7, UNIVERSITY must execute
               an affidavit affirmiqg that the UNIVERSITY does not knowingly employ an unauthorized alien and
               confirming UNIVBRSITY's enrollment in the Program, unless the Program no longer exists, shall be filed
               with the EVSC prior to the execution of this Agreement. This Agreement shall not be deemed fully
               executed until such affidavit is delivered to the EVSC.

           19. Relationship of Parties
               Notwithstanding any provision to the contrary contained herein, no relationship of employer and
               employee is created by this Agreement, it being understood that UNIVERSITY and its agents, Students,
               and employees will act as independent contractors and shall not have any claim under this Agreement or
               otherwise against EVSC for vacation pay, sick leave, retirement benefits, Social Security, Workers'
               Compensation, disability or unemployment insurance benefits or employee benefits of any kind.

          20. Confidentiality
              UNIVERSITY and EVSC recognizes that student records must be kept confidential pursuant to federal
              and state law and agrees to maintain and preserve such confidentiality at all times.

          21. Liability Insurance
              UNIVERSITY shall carry in its own name, at its own cost, the following insurance or self-
              insurance:

              Comprehensive General Liability Insurance with limits of not less than $1,000,000.00 each
              occurrence, $2,000,000.00 aggregate.

              UNIVERSITY shall furnish BVSC a certificate that the above insurance or self-insurance is at all times
              in full force and effect. EVSC shall be carried as an additional named insured thereunder and
              UNIVERSITY shall provide the EVSC proof thereof.

              EVSC shall carry in its own name, at its own cost, the following insurance or self-insurance:

              Comprehensive General Liability Insurance with limits of not less than $1,000,000.00 each
              occurrence, $2,000,000.00 aggregate.

              EVSC shall furnish UNIVERSITY a certificate that the above insurance or self-insurance is at all times
              in full force and effect. UNIVERSITY shall be carried as an additional named insured thereunder and
              BVSC shall provide the UNIVERSITY proof thereof.




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           22. EVSC Policies
               UNIVERSITY shall cause all of its agents, employees, personnel, or Students providing services
               hereunder to observe and comply with all rules, policies, standards and guidelines of the EVSC as
               may be adopted and amended from time to time by EVSC, including but not limited to procedures for
               reporting child abuse and neglect and building security issues, in addition to those of UNIVERSITY.

           23. Modification and Waiver
               A modification or waiver of any of the provisions of this Agreement shall be effective only if made in
               writing and executed with the same formality as this Agreement. A waiver by either party of any breach
               or default in the performance of any of the provisions of this Agreement on the part of the other shall
               not constitute a waiver of any subsequent breach or default on the part of either party.

           24. Severability; Invalid Provisions Inapplicable
               If any provision of this Agreement is contrary to, prohibited by, or deemed invalid under applicable
               Jaws or regulations of any jurisdiction in which it is sought to be enforced, then such provision shall be
               deemed inapplicable and deemed omitted, but shall not invalidate the remaining provisions hereof.

           25. Assignment
               The parties agree that the duties to be performed hereunder by UNIVERSITY are professional in nature,
               and that this Agreement may not be assigned by UNIVERSITY, nor its duties delegated to others,
               without the advanced written consent of EVSC.

           26. Notices
               All notices to be given under this Agreement shall be in writing and shall be deemed to have been given
               and served when delivered in person or mailed, postage pre-paid, to the addressee party at the following
               addresses:

               ForEysc;
              Velinda Stubbs, Deputy Superintendent of Teaching and Learning
               Evansville Vanderburgh EVSC
              95 l Walnut Street
              Evansville, IN 47713

              For UNIVERSITY:
              Sharon Gieselmann, Department Chair
              University of Evansville
              1800 Lincoln Avenue
              Evansville, IN 47722

          27. CbolceofLaw and Venue
              Any dispute that arises out of or relating to the tenns of this Agreement shall be brought in the Superior or
              Circuit Court of Vanderburgh County, Indiana or in the Federal District Court for the Southern District of
              Indiana, Evansville Division. The law of the State of Indiana shall govern any dispute.

          28. Successors
              All the obligations, conditions, terms and provisions of this Agreement shall be binding upon and shall
              inure to the benefit of the parties hereto and their heirs, administrators, executors, successors, permitted
              assigns, subsidiaries, officers, directors and employees.

          29. Entire Agreement
              This Agreement contains the entire understanding of the parties, and there are no representations,
              warranties, covenants or understandings other than those expressly set forth herein.



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             M356
      EVANSVILLE VANDERBURGl-l
                 VANDERBURGl-1 SCHOOL CORPORATION

      By;    M 3, -1i3t
             David B. Smith
             Davi'd   Smitl1
      Its:
      lts:   Superintendent
             Superintendent




      By:
      By:    J½~J1~~~
             Mmﬂwbemk
             Sharon Gieselmanu
                    Gieselmann
             Department Chair, School of Education
             Dcpaﬂmem
             University of Evansville
             University
      Its:
      lts:




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